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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

 RAYMOND GOMEZ SR, EXECUTOR OF THE
 ESTATE OF RAYMOND GOMEZ JR



      Plaintiff,
                                                 MDL NO. 2804
v.                                               CASE NO. 1:19-op-45805

                                                 JURY TRIAL DEMANDED
MCKESSON CORPORATION;
CARDINAL HEALTH, INC.;
AMERISOURCEBERGEN CORPORATION;
TEVA PHARMACEUTICAL INDUSTRIES, LTD.;
TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.;
JOHNSON & JOHNSON;
JANSSEN PHARMACEUTICALS, INC.;
ORTHO-MCNEIL-JANSSEN       PHARMACEUTICALS,     INC. n/k/a JANSSEN
PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA INC. n/k/a JANSSEN PHARMACEUTICALS, INC.;
ENDO HEALTH SOLUTIONS INC.;
ENDO PHARMACEUTICALS, INC.;
ALLERGAN PLC f/k/a ACTAVIS PLC;
WATSON PHARMACEUTICALS, INC. n/k/a ACTAVIS, INC.;
WATSON LABORATORIES, INC.;
ACTAVIS LLC; and
ACTAVIS PHARMA, INC. f/k/a WATSON PHARMA, INC.,
DEPOMED, INC.;
MALLINCKRODT LLC;
MALLINCKRODT PLC;
SPECGX LLC;
PAR PHARMACEUTICAL, INC.;
PAR PHARMACEUTICAL COMPANIES, INC.;
NORAMCO, INC.;
INDIVIOR, INC.;
CVS HEALTH CORPORATION;
RITE AID OF MARYLAND, INC.;
RITE AID CORP.;
WALGREENS BOOTS ALLIANCE, INC.;
WALGREEN EASTERN CO.;
WALGREEN CO.;
WAL-MART INC. f/k/a WALMART STORES, INC.;
MIAMI-LUKEN, INC.;
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COSTCO WHOLESALE CORPORATION;
THE KROGER CO.;
H.D. SMITH, LLC;
H.D. SMITH HOLDINGS, LLC;
H.D. SMITH HOLDING COMPANY;
ANDA, INC.;

        Defendants.

                                             COMPLAINT

        NOW COMES Plaintiff RAYMOND GOMEZ SR [“Plaintiff”], as Executor of the Estate

of RAYMOND GOMEZ JR, hereby filing their Complaint against the Defendants for damages,

equitable, statutory, and injunctive relief. In support thereof, Plaintiff states as follows:

                                           INTRODUCTION

         1.      Prescription opioids have devastated communities across the country and in the

 State of FLORIDA. Since 1999, there have been more than 351,000 reported opioid-related

 deaths nationwide—more than six times the number of U.S. soldiers who died in the Vietnam

 War. In addition to the tragic loss of life and the heartbreaking impact on children and loved

 ones, some estimates state that the opioid crisis is costing governmental entities and private

 companies as much as $500 billion per year.

         2.      Defendants manufacture, market, sell, and distribute prescription opioids, which are

 powerful, highly addictive narcotic painkillers. The Manufacturer Defendants have engaged in a

 cunning and deceptive marketing scheme to encourage doctors and patients to use opioids to treat

 chronic pain. In doing so, the Manufacturer Defendants falsely minimized the risks of opioids,

 overstated their benefits, and generated far more opioid prescriptions than there should have been.

         3.      The opioid epidemic is the direct result of the Manufacturer Defendants’ deliberately

 crafted, well-funded campaign of deception. For years, they misrepresented the risks posed by the

 opioids they manufacture and sell, misleading susceptible prescribers and vulnerable patient


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 populations. As families and communities suffered from the scourge of opioid abuse, the

 Manufacturer Defendants earned billions in profits as a direct result of the harms they inflicted.

         4.      The Manufacturer Defendants knew that their misrepresentations about the risks

 and benefits of opioids were not supported by, and sometimes were directly contrary to, the

 scientific evidence. Certain opioid manufacturers, including Defendant Endo Pharmaceuticals,

 Inc., have entered agreements prohibiting them from making misrepresentations identified in

 this Complaint. Nonetheless, the Manufacturer Defendants continue to misrepresent the risks and

 benefits of long-term opioid use in FLORIDA, and they have not corrected their past misrepresentations.

         5.      The Manufacturer Defendants’ false and misleading statements deceived doctors

 and patients about the risks and benefits of opioids and convinced them that opioids were not only

 appropriate, but necessary to treat chronic pain. The Manufacturer Defendants targeted susceptible

 prescribers, like family doctors, and vulnerable patient populations, like the elderly and veterans.

 And they tainted the sources that doctors and patients relied upon for guidance, including

 treatment guidelines, medical education programs, medical conferences and seminars, and scientific

 articles. As a result, they successfully transformed the way doctors treat chronic pain, opening the

 floodgates of opioid prescriptions and dependence. Opioids are now the most prescribed class of

 drugs, generating billions of dollars in revenue for the Manufacturer Defendants every year.

         6.      In addition, the Distributor Defendants could and should have prevented the brunt

 of the opioid epidemic, but instead allowed the country to be flooded with prescription opioids.

 Under federal law, distributors are required to secure and monitor drugs as they travel through

 commerce, to protect them from theft, and to reject and report suspicious or unusual orders by

 downstream pharmacies, doctors, or patients. But the Distributor Defendants neglected this duty,

 turning a blind eye to known or knowable problems in their own supply chains. By doing so, the

 Distributor Defendants created conditions in which vast amounts of opioids flowed freely from the

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 Manufacturer Defendants to abusers and drug dealers—with the Distributor Defendants readily

 fulfilling suspicious orders from pharmacies and ignoring red flags that would require further

 investigation and resolution.

         7.       This behavior by the Distributor Defendants has allowed massive amounts of

 opioids to be diverted from legitimate channels of distribution into the illicit black market,

 fueling the opioid epidemic. The Distributor Defendants created an environment in which drug

 diversion can flourish. For years, the Distributor Defendants have had the ability to substantially reduce

 the death toll and adverse economic consequences of opioid diversion but opted to pursue corporate

 revenues instead. All of the Defendants in this action share responsibility for creating, sustaining, and

 prolonging the opioid epidemic.

         8.       The explosion in opioid prescriptions and use has created a public health crisis in

 FLORIDA. An oversupply of prescription opioids has provided a source for illicit use or sale of

 opioids, while their widespread use has created a population of addicted and dependent patients.

 When those patients can no longer afford or legitimately obtain opioids, they often turn to the

 street to buy prescription opioids or even heroin. In addition to the societal impact of deaths,

 overdoses, and rampant addiction, Defendants’ conduct has created higher demand and thus

 higher prices for opioids, as well as the need for expensive medical treatment for a number of

 covered health conditions, resulting in increased insurance costs for FLORIDA consumers.

         9.       Defendants’ conduct has fueled skyrocketing opioid addiction and opioid-related

 deaths and emergency treatments, and has generated huge sales of opioids at inflated prices.

         10.      The direct and proximate consequence of Defendants’ misconduct is that every

 FLORIDA purchaser of private health insurance paid higher premiums, co-payments, and

 deductibles. Insurance companies have considerable market power and pass onto their insureds the

 expected cost of future care—including opioid-related coverage. Accordingly, insurance companies


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 factored in the unwarranted and exorbitant healthcare costs of opioid-related coverage caused by

 Defendants and charged that back to insureds in the form of higher premiums, deductibles, and co-

 payments.

        11.     This action seeks to hold Defendants accountable for the economic harm they

 have imposed on FLORIDA purchasers of private health insurance.

                                             PARTIES

       A.      Plaintiff

       12.      Plaintiff RAYMOND GOMEZ SR is a natural person and resident and

       citizen of the State of FLORIDA. RAYMOND GOMEZ JR was a natural person

       and resident of the state of FLORIDA prior to their death.

       B.      Defendants

Distributor Defendants

       13.     McKesson Corporation (“McKesson”) has its principal place of business in San

Francisco, California and is incorporated under the laws of Delaware. During all relevant times,

McKesson has distributed substantial amounts of prescription opioids to providers and retailers in the

State of FLORIDA.

       14.     Cardinal Health, Inc. (“Cardinal”) has its principal place of business in Ohio and

is incorporated under the laws of Ohio. During all relevant times, Cardinal has distributed

substantial amounts of prescription opioids to providers and retailers in the State of FLORIDA.

       15.     AmerisourceBergen Corporation has its principal place of business in Pennsylvania

and is incorporated under the laws of Delaware. During all relevant times, AmerisourceBergen has

distributed substantial amounts of prescription opioids to providers and retailers in the State of

FLORIDA.

       16.     Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

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principal place of business in Rhode Island. CVS, through its various DEA registered subsidiaries and

affiliated entities, conducts business as a licensed wholesale distributor. CVS also operates retail stores

in numerous States, including in FLORIDA, that sell prescription medicines, including opioids. At all

times relevant to this Amended Complaint, CVS distributed prescription opioids and engaged in the

retail selling of opioids throughout the United States, including in FLORIDA.

        17.     Defendant Rite Aid of Maryland, Inc., dba Rite Aid Mid-Atlantic Customer Support

Center, Inc. is a Maryland corporation with its principal offices located in Lutherville Timonium,

Maryland. Defendant Rite Aid Corp. is a Delaware corporation with its principal offices located in

Camp Hill, Pennsylvania. Together, Rite Aid of Maryland, Inc. and Rite Aid Corp. are referred to as

“Rite Aid.”

        18.     Rite Aid, through its various DEA registered subsidiaries and affiliated entities,

conducts business as a licensed wholesale distributor. Rite-Aid also operates retail stores, including in

FLORIDA, that sell prescription medicines, including opioids. At all times relevant to this Complaint,

Rite Aid, through its various DEA registered subsidiaries and affiliated entities, distributed

prescription opioids and engaged in the retail selling of opioids throughout the United States, including

in FLORIDA.

        19.     Defendant Walgreens Boots Alliance, Inc., is a Delaware corporation with its principal

place of business in Illinois. Defendant Walgreen Eastern Co. is a subsidiary of Walgreens Boots

Alliance, Inc. that is engaged in the business of distributing pharmaceuticals, including prescription

opioids. Defendant Walgreen, Co. is a subsidiary of Walgreens Boots Alliance that operates retail drug

stores. Together, Walgreens Boots Alliance, Inc., Walgreen Eastern Co. and Walgreen Co. are referred

to as “Walgreens.”

        20.     Walgreens, through its various DEA registered subsidiaries and affiliated entities,

conducts business as a licensed wholesale distributor. At all relevant times, Walgreens has sold and


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continues to sell prescription opioids in close proximity to the hospitals, clinics, and other healthcare

facilities serving the state of FLORIDA.

        21.     Defendant Wal-Mart Inc. f/k/a Walmart Stores, Inc. (“Wal-Mart”), is a Delaware

corporation with its principal place of business in Bentonville, Arkansas. Walmart, through its various

DEA registered affiliated entities, conducts business as a licensed wholesale distributor. At all times

relevant to this Amended Complaint, Wal-Mart distributed prescription opioids and engaged in the

retail selling of opioids throughout the United States, including in FLORIDA.

        22.     Defendant MIAMI-LUKEN, INC. (“Miami-Luken”) is an Ohio corporation with

its principal place of business located in Springboro, Ohio. During all relevant times, Miami-Luken

has distributed substantial amounts of prescription opioids to providers and retailers in FLORIDA.

        23.     Defendant COSTCO WHOLESALE CORPORATION (“Costco”) is a Washington

corporation with its principal place of business in Issaqua, Washington. During all relevant times,

Costco has sold and continues to sell, in FLORIDA and nationwide, prescription opioids including

the Opioid Drugs at issue in this lawsuit.

        24.     Defendant The Kroger Co. (“Kroger) is an Ohio corporation with headquarters in

Cincinnati, OH. Kroger operates 2,268 pharmacies in the United States. At all times relevant to this

Complaint, Kroger distributed prescription opioids throughout the United States, including in

FLORIDA.

        25.     Defendants H. D. Smith, LLC d/b/a HD Smith f/k/a H. D. Smith Wholesale Drug

Co., H. D. Smith Holdings, LLC, H. D. Smith Holding Company (“H. D. Smith”) is a Delaware

corporation with its principal place of business in Springfield, Illinois. H. D. Smith is a privately held

independent pharmaceuticals distributor of wholesale brand, generic, and specialty pharmaceuticals.

At all times relevant to this Complaint, H. D. Smith distributed prescription opioids throughout the

United States, including FLORIDA.


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       26.     Defendant Anda, Inc. (“Anda”), is a Florida corporation with its principal office

located in Olive Branch, Mississippi. Through its various DEA registrant subsidiaries and affiliated

entities, Anda is the fourth largest distributor of generic pharmaceuticals in the United States, which

includes FLORIDA State. In October 2016, Defendant Teva USA acquired Anda for $500 million in

cash. At all relevant times, Anda distributed prescription opioids throughout the United States,

including in FLORIDA.

       27.     McKesson, Cardinal, AmerisourceBergen, CVS, Rite Aid, Walgreens, Wal-Mart,

Miami-Luken, Costoco, Kroger, H.D. Smith, and Anda are collectively referred to hereinafter as

“Distributor Defendants.”

Pharmaceutical Marketing and Manufacturing Defendants

       28.     Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. Cephalon manufactures, promotes, sells, and distributes opioids such

as Actiq and Fentora in the U.S. and FLORIDA. Actiq and Fentora have been approved by the FDA

only for the “management of breakthrough cancer pain in patients 16 years of age and older who are

already receiving and who are tolerant to opioid therapy for their underlying persistent cancer pain.”

In 2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for

its misleading promotion of Actiq and two other drugs and agreed to pay $425 million.

       29.     Teva Pharmaceutical Industries, Ltd. (“Teva Ltd.”) is an Israeli corporation with its

principal place of business in Petah Tikva, Israel. Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a

wholly- owned subsidiary of Teva Ltd. and is a Delaware corporation with its principal place of

business in Pennsylvania. Teva USA acquired Cephalon in October 2011.

       30.     Teva Ltd., Teva USA, and Cephalon collaborate to market and sell Cephalon products

in the U.S. Teva Ltd. conducts all sales and marketing activities for Cephalon in the U.S. through Teva

USA. Teva Ltd. and Teva USA publicize Actiq and Fentora as Teva products. Teva USA sells all


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former Cephalon branded products through its “specialty medicines” division. The FDA-approved

prescribing information and medication guide, which is distributed with Cephalon opioids marketed

and sold in FLORIDA, discloses that the guide was submitted by Teva USA, and directs physicians

to contact Teva USA to report adverse events. Teva Ltd. has directed Cephalon to disclose that it is a

wholly-owned subsidiary of Teva Ltd. on prescription savings cards distributed in FLORIDA,

indicating Teva Ltd. would be responsible for covering certain co-pay costs. All of Cephalon’s

promotional websites, including those for Actiq and Fentora, prominently display Teva Ltd.’s logo.

Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as its own. Through interrelated

operations like these, Teva Ltd. operates in FLORIDA and the rest of the U.S. through its subsidiaries

Cephalon and Teva USA. The U.S. is the largest of Teva Ltd.’s global markets, representing 53% of

its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc., Teva

Ltd. would conduct those companies’ business in FLORIDA itself. Upon information and belief, Teva

Ltd. directs the business practices of Cephalon and Teva USA, and their profits inure to the benefit

of Teva Ltd. as controlling shareholder. (Teva Ltd., Teva USA, and Cephalon, Inc. are hereinafter

collectively referred to as “Cephalon.”)

        31.     Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its principal place of

business in Titusville, New Jersey, and is a wholly owned subsidiary of Johnson & Johnson (J&J), a

New Jersey corporation with its principal place of business in New Brunswick, New Jersey. Ortho-

McNeil-Janssen Pharmaceuticals, Inc., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania

corporation with its principal place of business in Titusville, New Jersey. Janssen Pharmaceuticals Inc.,

now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of

business in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs and


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Janssen’s profits inure to J&J’s benefit. (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., and J&J hereinafter are collectively referred to as

“Janssen.”). Janssen manufactures, promotes, sells, and distributes drugs in the U.S. and FLORIDA,

including the opioid Duragesic. Before 2009, Duragesic accounted for at least $1 billion in annual

sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta and Nucynta

ER. Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

        32.     Endo Health Solutions Inc. is a Delaware corporation with its principal place of

business in Malvern, Pennsylvania. Endo Pharmaceuticals Inc. is a wholly- owned subsidiary of Endo

Health Solutions Inc. and is a Delaware corporation with its principal place of business in Malvern,

Pennsylvania. (Endo Health Solutions Inc. and Endo Pharmaceuticals Inc. hereinafter are collectively

referred to as “Endo.”) Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the U.S. and FLORIDA. Opioids made up

roughly $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion

in revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

hydrocodone products in the U.S. and FLORIDA, by itself and through its subsidiary, Qualitest

Pharmaceuticals, Inc.

        33.     Allergan PLC is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in January 2013. Before that, Watson

Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012, and the combined company changed its

name to Actavis, Inc. as of January 2013, later to Actavis PLC in October 2013. Watson Laboratories,

Inc. is a Nevada corporation with its principal place of business in Corona, California, and is a wholly-

owned subsidiary of Allergan PLC (f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.). Actavis


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Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business in

New Jersey and was formerly known as Watson Pharma, Inc. Actavis LLC is a Delaware limited

liability company with its principal place of business in Parsippany, New Jersey. Each of these

defendants is owned by Allergan PLC, which uses them to market and sell its drugs in FLORIDA.

Upon information and belief, Allergan PLC exercises control over and derives financial benefit from

the marketing, sales, and profits of Allergan/Actavis products. (Allergan PLC, Actavis PLC, Actavis,

Inc., Actavis LLC, Actavis Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and

Watson Laboratories, Inc. hereinafter are referred to collectively as “Actavis.”) Actavis manufactures,

promotes, sells, and distributes opioids, including the branded drugs Kadian and Norco, a generic

version of Kadian, and generic versions of Duragesic and Opana, in FLORIDA. Actavis acquired the

rights to Kadian from King Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian

in 2009.

       34.     Defendant DEPOMED, INC. (“Depomed”) is a California corporation with its

principal place of business in Newark, California. Depomed describes itself as a specialty

pharmaceutical company focused on pain and other central nervous system conditions. Depomed

develops, markets, and sells prescription drugs in FLORIDA and nationally. Depomed acquired the

rights to Nucynta and Nucynta ER for $1.05 billion from Janssen pursuant to a January 15, 2015 Asset

Purchase Agreement. This agreement closed on April 2, 2015.

       35.     Defendant Mallinckrodt LLC is a Delaware corporation with its headquarters in

Hazelwood, Missouri. Defendant Mallinckrodt plc is an Irish public limited company with its

headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was incorporated

in January 2013 for the purpose of holding the pharmaceuticals business of Covidien plc, which was

fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt is engaged in the manufacture,

promotion, distribution, and sale of opioids such as Roxicodone, Exalgo, Xartemis XR, as well as


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oxycodone and other generic opioids. MPLC also operates under the registered business name

Mallinckrodt Pharmaceuticals (“MPMO”), with its U.S. headquarters in Hazelwood, Missouri.

Defendant SpecGx LLC is a Delaware limited liability company with its headquarters in Clayton,

Missouri and is a wholly-owned subsidiary of Mallinckrodt plc. Mallinckrodt plc, Mallinckrodt LLC,

and SpecGx LLC and their DEA registrant subsidiaries and affiliates (together, “Mallinckrodt”)

manufacture, market, sell and distribute pharmaceutical drugs throughout the United States.

Mallinckrodt is the largest U.S. supplier of opioid pain medications and among the top ten generic

pharmaceutical manufacturers in the United States, based on prescriptions.

       36.     Defendant Par Pharmaceutical, Inc. is a New York corporation with its principal place

of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-owned

subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc. Defendant

Par Pharmaceuticals Companies, Inc. is a Delaware corporation with its principal place of business

located in Chestnut Ridge, New York (Par Pharmaceutical, Inc. and Par Pharmaceutical Companies,

Inc. are referred to collectively as “Par Pharmaceutical”). Par Pharmaceutical is an affiliate of

Defendants Endo Health Solutions Inc. (“EHS”) and Endo Pharmaceuticals, Inc. (“EPI). EHS, EPI,

and Par Pharmaceutical, and their DEA registrant subsidiaries and affiliates (collectively, “Endo”),

manufacture opioids sold throughout the United States including in FLORIDA.

       37.     Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.

       38.     Defendant Invidior, Inc. (“Invidior”) is a Delaware domestic corporation with its

principal place of business in Richmond, Virginia. Indivor manufactures and distributes

buprenorphine-based prescription drugs for treatment of opioid dependence. Buprenorphine is a

Schedule III drug. The company offers medication under the brand name Suboxone and sublingual


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tablets under the brand name Subutex. Indivor, Inc. is a subsidiary of Indivor, PLC, based in the

United Kingdom. Indivor, Inc. was formerly known as Reckitt Benckiser Pharmaceuticals, Inc.

Indivor, Inc. has manufactured and/or labeled Buprenorphine shipped to FLORIDA.

        39.     Cephalon, Janssen, Endo, Actavis, Depomed, Mallinckrodt, Par Pharmaceutical,

Noramco, and Invidior are collectively referred to hereinafter as the “Pharmaceutical Defendants”

or “Marketing and Manufacturing Defendants.”



                                  JURISDICTION AND VENUE

        40.     Jurisdiction of this Court arises under the laws of the United States 28 U.S.C. § 1332(a),

as the parties are citizens of different states and the amount in controversy exceeds $75,000.00,

exclusive of attorney’s fees and costs.

        41.     Jurisdiction of this Court also arises under 28 U.S.C. § 1331 federal question

jurisdiction pursuant to issues related to the Controlled Substances Act.

        42.     This Court has personal jurisdiction over Defendants, each of which has committed

torts, in part or in whole, within the State of Ohio, as alleged herein. Moreover, Defendants have

substantial contacts and business dealings directly within Ohio by virtue of their distribution,

dispensing, and sales of prescription opioids.

        43.     Venue is proper in this Court pursuant to this Court’s Case Management Order One

(Doc. 232) allowing direct filing into these MDL proceedings. Plaintiff reserves the right to move for

transfer at the conclusion of pretrial proceedings.

        44.     Per Case Management Order One, Plaintiff does not concede that Ohio law applies

by directly filing in this MDL proceeding.



                                      BACKGROUND FACTS


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       45.     Opioid means “opium – like” and the term includes all drugs derived in whole or in

part from the opium poppy.

       46.     The United States Food and Drug Administration’s website describes this class of

drugs as follows: “Prescription opioids are powerful pain-reducing medications that include

prescription oxycodone, hydrocodone, and morphine, among others, and have both benefits as well

as potentially serious risks. These medications can help manage pain when prescribed for the right

condition and when used properly. But when misused or abused, they can cause serious harm,

including addiction, overdose, and death.”

       47.     Prescription opioids with the highest potential for addiction are categorized under

Schedule II of the Controlled Substances Act. They include non-synthetic derivatives of the opium

poppy (such as codeine and morphine, which are also called “opiates”), partially synthetic derivatives

(such as hydrocodone and oxycodone), or fully synthetic derivatives (such as fentanyl and methadone).

       48.     Before the epidemic of Defendants’ prescription opioids, the generally accepted

standard of medical practice was that opioids should only be used short-term for acute pain, pain

relating to recovery from surgery, or for cancer or palliative (end-of-life) care. Due to the lack of

evidence that opioids improved patients’ ability to overcome pain and function, coupled with evidence

of greater pain complaints as patients developed tolerance to opioids over time and the serious risk of

addiction and other side effects, the use of opioids for chronic pain was discouraged or prohibited.

As a result, doctors generally did not prescribe opioids for chronic pain.



             PHARMACEUTICAL DEFENDANTS’ WRONGFUL CONDUCT

       49.     To establish and exploit the lucrative market of chronic pain patients, each

Pharmaceutical Defendant developed a well-funded, sophisticated, and negligent marketing and/or

distribution scheme targeted at consumers and physicians. These Defendants used direct marketing,


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as well as veiled advertising by seemingly independent third parties to spread misrepresentations about

the risks and benefits of long-term opioid use – statements that created the “new” market for

prescription opioids, upended the standard medical practice, and benefited other Defendants and

opioid manufacturers. These statements were unsupported by and contrary to the scientific evidence.

These statements were also contrary to pronouncements by and guidance from the FDA and CDC

based on that evidence. They also targeted susceptible prescribers and vulnerable patient populations,

including those in FLORIDA.

       50.     The Pharmaceutical Defendants spread their false and negligent statements by

marketing their branded opioids directly to doctors and patients in FLORIDA. Defendants also

deployed seemingly unbiased and independent third parties that they controlled to spread their false

and negligent statements about the risks and benefits of opioids for the treatment of chronic pain

throughout geographic areas and patient demographics of FLORIDA.

       51.     The Pharmaceutical Defendants’ direct and branded ads negligently portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its website

www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs, misleadingly implying that the drug would provide long-term pain-relief

and functional improvement. While Endo agreed in 2015-16 to stop these particularly misleading

representations in New York, they continued to disseminate them in FLORIDA.

       52.     The Pharmaceutical Defendants also promoted the use of opioids for chronic pain

through “detailers” – sophisticated and specially trained sales representatives who visited individual

doctors and medical staff, and fomented small-group speaker programs. In 2014, for instance, these

Defendants spent almost $200 million on detailing branded opioids to doctors.

       53.     The FDA has cited at least one of these Defendants for negligent promotions by its

detailers and direct-to-physician marketing. In 2010 an FDA-mandated “Dear Doctor” letter required


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Actavis to inform doctors that “Actavis sales representatives distributed . . . promotional materials

that . . . omitted and minimized serious risks associated with [Kadian],” including the risk of “[m]isuse,

[a]buse, and [d]iversion of [o]pioids” and, specifically, the risk that “[o]pioid[s] have the potential for

being abused and are sought by drug abusers and people with addiction disorders and are subject to

criminal diversion.”

        54.     The Pharmaceutical Defendants invited doctors to participate, for payment and other

remuneration, on and in speakers’ bureaus and programs paid for by these Defendants. These speaker

programs were designed to provide incentives for doctors to prescribe opioids, including recognition

and compensation for being selected as speakers. These speakers give the false impression that they

are providing unbiased and medically accurate presentations when they are, in fact, presenting a script

prepared by these Defendants. On information and belief, these presentations conveyed misleading

information, omitted material information, and failed to correct Defendants’ prior misrepresentations

about the risks and benefits of opioids.

        55.     The Pharmaceutical Defendants’ detailing to doctors was highly effective in the

national proliferation of prescription opioids. Defendants used sophisticated data mining and

intelligence to track and understand the rates of initial prescribing and renewal by individual doctors,

allowing specific and individual targeting, customizing, and monitoring of their marketing.

        56.     The Pharmaceutical Defendants have had unified marketing plans and strategies from

state to state, including FLORIDA. This unified approach ensures that Defendants’ messages were

and are consistent and effective across all their marketing efforts.

        57.     The Pharmaceutical Defendants negligently marketed opioids in FLORIDA through

unbranded advertising that promoted opioid use generally, yet silent as to a specific opioid. This

advertising was ostensibly created and disseminated by independent third parties, but funded, directed,

coordinated, edited, and distributed, in part or whole, by these Defendants and their public relations


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firms and agents.

        58.       The Pharmaceutical Defendants used putative third-party, unbranded advertising to

avoid regulatory scrutiny as such advertising is not submitted to or reviewed by the FDA. These

Defendants used third-party, unbranded advertising to create the false appearance that the negligent

messages came from an independent and objective source.

        59.       The Pharmaceutical Defendants’ negligent unbranded marketing also contradicted

their branded materials reviewed by the FDA.

        60.       The Pharmaceutical Defendants marketed opioids through a small circle of doctors

who were vetted, selected, funded, and promoted by these Defendants because their public positions

supported the use of prescription opioids to treat chronic pain. These doctors became known as “key

opinion leaders” or “KOLs.” These Defendants paid KOLs to serve in a number of doctor-facing

and public-facing capacities, all designed to promote a pro-opioid message and to promote the opioid

industry pipeline, from manufacture to distribution to retail.

        61.       These Defendants entered into and/or benefitted from arrangements with seemingly

unbiased and independent organizations or groups that generated treatment guidelines, unbranded

materials, and programs promoting chronic opioid therapy, including the American Pain Society

(“APS”), American Geriatrics Society (“AGS”), the Federation of State Medical Boards (“FSMB”),

American Chronic Pain Association (“ACPA”), American Society of Pain Education (“ASPE”),

National Pain Foundation (“NPF”), and Pain & Policy Studies Group (“PPSG”).

        62.       The Pharmaceutical Defendants collaborated, through the aforementioned

organizations and groups, to spread negligent messages about the risks and benefits of long-term

opioid therapy.

        63.       To convince doctors and patients in FLORIDA that opioids can and should be used

to treat chronic pain, these Defendants had to persuade them that long-term opioid use is both safe


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and helpful. Knowing that they could do so only by conveying negligent misrepresentations to those

doctors and patients about the risks and benefits of long-term opioid use, these Defendants made

claims that were not supported by or were contrary to the scientific evidence and which were

contradicted by data.

        64.     To convince doctors and patients that opioids are safe, the Pharmaceutical Defendants

negligently trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of

addiction, through a series of misrepresentations that have been conclusively debunked by the FDA

and CDC. These misrepresentations – which are described below – reinforced each other and created

the dangerously misleading impression that: (a) starting patients on opioids was low- risk because most

patients would not become addicted, and because those who were at greatest risk of addiction could

be readily identified and managed; (b) patients who displayed signs of addiction probably were not

addicted and, in any event, could easily be weaned from the drugs; (c) the use of higher opioid doses,

which many patients need to sustain pain relief as they develop tolerance to the drugs, do not pose

special risks; and (d) abuse-deterrent opioids both prevent abuse and overdose and are inherently less

addictive. Defendants have not only failed to correct these misrepresentations; they continue to make

them today.

        65.     The Pharmaceutical Defendants negligently claimed that the risk of opioid addiction

is low and that addiction is unlikely to develop when opioids are prescribed, as opposed to obtained

illicitly; and failed to disclose the greater risk of addiction with prolonged use of opioids. Some

examples of these negligent misrepresentations by opioid manufacturers are: (a) Actavis employed a

patient education brochure that negligently claimed opioid addiction is “less likely if you have never

had an addiction problem;” (b) Cephalon cosponsored APF’s Treatment Options: A Guide for People

Living with Pain, negligently claiming that addiction is rare and limited to extreme cases of

unauthorized doses; (c) Endo sponsored a website, Painknowledge.com, which negligently claimed


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that “[p]eople who take opioids as prescribed usually do not become addicted;” (d) Endo distributed

a pamphlet with the Endo logo entitled Living with Someone with Chronic Pain, which stated that:

“most people do not develop an addiction problem;” (e) Janssen distributed a patient education guide

entitled Finding Relief: Pain Management for Older Adults which described as “myth” the claim that

opioids are addictive; (f) a Janssen website negligently claimed that concerns about opioid addiction

are “overestimated.”

        66.     These claims are contrary to longstanding scientific evidence, as the FDA and CDC

have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

“extensive evidence” of the “possible harms of opioids (including opioid use disorder [an alternative

term for opioid addiction]).” The Guideline points out that “[o]pioid pain medication use presents

serious risks, including . . . opioid use disorder” and that “continuing opioid therapy for three (3)

months substantially increases risk for opioid use disorder.”

        67.     The FDA further exposed the falsity of the Pharmaceutical Defendants’ claims about

the low risk of addiction when it announced changes to the labels for certain opioids in 2013 and for

other opioids in 2016. In its announcements, the FDA found that “most opioid drugs have ‘high

potential for abuse’” and that opioids “are associated with a substantial risk of misuse, abuse, NOWS

[neonatal opioid withdrawal syndrome], addiction, overdose, and death.” According to the FDA,

because of the “known serious risks” associated with long-term opioid use, including “risks of

addiction, abuse, and misuse, even at recommended doses, and because of the greater risks of overdose

and death,” opioids should be used only “in patients for whom alternative treatment options” like

non-opioid drugs have failed. The FDA further acknowledged that the risk is not limited to patients

who seek drugs illicitly; addiction “can occur in patients appropriately prescribed [opioids].”

        68.     The State of New York, in a 2016 settlement agreement with Endo, found that opioid

“use disorders appear to be highly prevalent in chronic pain patients treated with opioids, with up to


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40% of chronic pain patients treated in specialty and primary care outpatient centers meeting the

clinical criteria for an opioid use disorder.” Endo had claimed on its www.opana.com website that

“most healthcare providers who treat patients with pain agree that patients treated with prolonged

opioid medicines usually do not become addicted,” but the State of New York found no evidence for

that statement. Consistent with this, Endo agreed not to “make statements that . . . opioids generally

are non-addictive” or “that most patients who take opioids do not become addicted” in New York.

This agreement, however, did not extend to FLORIDA.

        69.     The Pharmaceutical Defendants negligently instructed doctors and patients that the

signs of addiction are actually signs of undertreated pain and should be treated by prescribing more

opioids. Defendants called this phenomenon “pseudo-addiction” – a term used by Dr. Russell

Portenoy, a KOL for Cephalon, Endo, and Janssen. Defendants negligently claimed that pseudo-

addiction was substantiated by scientific evidence. Some examples of these negligent claims are: (a)

Cephalon cosponsored Responsible Opioid Prescribing, which taught that behaviors such as

“requesting drugs by name,” “demanding or manipulative behavior,” seeing more than one doctor to

obtain opioids, and hoarding, are all signs of pseudo-addiction, rather than true addiction; (b) Janssen

sponsored, funded, and edited the Let’s Talk Pain website, which in 2009 stated: “pseudo-addiction .

. . refers to patient behaviors that may occur when pain is under-treated;” (c) Endo sponsored a

National Initiative on Pain Control (NIPC) CME program titled Chronic Opioid Therapy:

Understanding Risk While Maximizing Analgesia, which promoted pseudo-addiction by teaching that

a patient’s aberrant behavior was the result of untreated pain.

        70.     The 2016 CDC Guideline rejects the concept of pseudo-addiction, explaining that

“patients who do not experience clinically meaningful pain relief early in treatment . . . are unlikely to

experience pain relief with longer- term use,” and that physicians should reassess “pain and function

within 1 month” in order to decide whether to “minimize risks of long-term opioid use by


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discontinuing opioids” because the patient is “not receiving a clear benefit.”

        71.     The Pharmaceutical Defendants negligently instructed doctors and patients that

addiction risk screening tools, patient agreements, urine drug screens, and similar strategies were very

effective to identify and safely prescribe opioids to even those patients predisposed to addiction. These

misrepresentations were reckless because Pharmaceutical Defendants directed them to general

practitioners and family doctors who lack the time and expertise to closely manage higher-risk patients

on opioids. Pharmaceutical Defendants’ misrepresentations were intended to make doctors more

comfortable in prescribing opioids. A prominent example of these negligent claims is an Endo

supplement in the Journal of Family Practice emphasized the effectiveness of screening tools to avoid

addictions.

        72.     The 2016 CDC Guideline exposes the falsity of these misrepresentations, noting that

there are no studies assessing the effectiveness of risk mitigation strategies – such as screening tools,

patient contracts, urine drug testing, or pill counts widely believed by doctors to detect and deter abuse

– “for improving outcomes related to overdose, addiction, abuse, or misuse.” The Guideline

emphasizes that available risk screening tools “show insufficient accuracy for classification of patients

as at low or high risk for [opioid] abuse or misuse” and counsels that doctors “should not overestimate

the ability of these tools to rule out risks from long-term opioid therapy.”

        73.     To underplay the risk and impact of addiction and make doctors feel more comfortable

starting patients on opioids, Pharmaceutical Defendants negligently claimed that opioid dependence

can easily be solved by tapering, that opioid withdrawal was not difficult, and that there were no

problems in stopping opioids after long-term use.

        74.     A CME sponsored by Endo, entitled Persistent Pain in the Older Adult, claimed that

withdrawal symptoms could be avoided by tapering a patient’s opioid dose by up to 20% for a few

days.


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        75.     Pharmaceutical Defendants negligently minimized the significant symptoms of opioid

withdrawal – which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety, insomnia,

abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous

abortion and premature labor in pregnant women, and the unmasking of anxiety, depression, and

addiction – and grossly understated the difficulty of tapering, particularly after long-term opioid use.

The 2016 CDC Guideline recognizes that the duration of opioid use and the dosage of opioids

prescribed should be “limit[ed]” to “minimize the need to taper opioids to prevent distressing or

unpleasant withdrawal symptoms,” because “physical dependence on opioids is an expected

physiologic response in patients exposed to opioids for more than a few days.” The Guideline further

states that “tapering opioids can be especially challenging after years on high dosages because of

physical and psychological dependence” and highlights the difficulties, including the need to carefully

identify “a taper slow enough to minimize symptoms and signs of opioid withdrawal” and to “pause[]

and restart[]” tapers depending on the patient’s response. The CDC also acknowledges the lack of any

“high-quality studies comparing the effectiveness of different tapering protocols for use when opioid

dosage is reduced or opioids are discontinued.”

        76.     The Pharmaceutical Defendants negligently claimed that doctors and patients could

increase opioid dosages indefinitely without added risk of addiction and other health consequences,

and failed to disclose the greater risks to patients at higher dosages. The ability to escalate dosages was

critical to Defendants’ efforts to market opioids for long-term use to treat chronic pain because, absent

this misrepresentation, doctors would have abandoned treatment when patients built up tolerance and

lower dosages did not provide pain relief. For example: (a) an Actavis patient brochure stated - “Over

time, your body may become tolerant of your current dose. You may require a dose adjustment to get

the right amount of pain relief. This is not addiction;” (b) Cephalon cosponsored APF’s Treatment

Options: A Guide for People Living with Pain, claiming that some patients need larger doses of


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opioids, with “no ceiling dose” for appropriate treatment of severe, chronic pain; (c) an Endo website,

painknowledge.com, claimed that opioid dosages may be increased until “you are on the right dose of

medication for your pain;” (d) an Endo pamphlet Understanding Your Pain: Taking Oral Opioid

Analgesics, stated “The dose can be increased. . . . You won’t ‘run out’ of pain relief;” (e) a Janssen

patient education guide Finding Relief: Pain Management for Older Adults listed dosage limitations

as “disadvantages” of other pain medicines yet omitted any discussion of risks of increased opioid

dosages.

       77.     These and other representations conflict with the scientific evidence, as confirmed by

the FDA and CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-dose opioids

for chronic pain are not established” while the “risks for serious harms related to opioid therapy

increase at higher opioid dosage.” More specifically, the CDC explains that “there is now an

established body of scientific evidence showing that overdose risk is increased at higher opioid

dosages.” The CDC states that “there is an increased risk for opioid use disorder, respiratory

depression, and death at higher dosages.” That is why the CDC advises doctors to “avoid increasing

dosages” above 90 morphine milligram equivalents per day.

       78.     The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In 2013,

the FDA acknowledged “that the available data do suggest a relationship between increasing opioid

dose and risk of certain adverse events.” For example, the FDA noted that studies “appear to credibly

suggest a positive association between high-dose opioid use and the risk of overdose and/or overdose

mortality.”

       79.     Pharmaceutical Defendants’ marketing of the so-called abuse-deterrent properties of

some of their opioids created false impressions that these opioids can curb addiction and abuse.

Indeed, in a 2014 survey of 1,000 primary care physicians, nearly half reported that they believed

abuse-deterrent formulations are inherently less addictive.


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        80.     Pharmaceutical Defendants have made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

the 2012 reformulation of Opana ER negligently claimed that it was designed to be crush resistant, in

a way that suggested it was more difficult to abuse. The FDA warned in a 2013 letter that there was

no evidence Endo’s design “would provide a reduction in oral, intranasal or intravenous abuse.”

Moreover, Endo’s own studies, which it failed to disclose, showed that Opana ER could still be ground

and chewed.

        81.     In a 2016 settlement with the State of New York, Endo agreed not to make statements

in New York that Opana ER was “designed to be, or is crush resistant.” New York found those

statements false and negligent because there was no difference in the ability to extract the narcotic

from Opana ER. Similarly, the 2016 CDC Guideline states that “[n]o studies” support the notion that

“abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies – even when they work – “do not prevent opioid abuse through oral intake, the

most common route of opioid abuse, and can still be abused by non-oral routes.”

        82.     These numerous, longstanding misrepresentations minimizing the risks of long-term

opioid use persuaded doctors and patients to discount or ignore the true risks. Pharmaceutical

Defendants also had to persuade them that there was a significant upside to long-term opioid use. But

as the 2016 CDC Guideline makes clear, there is “insufficient evidence to determine the long-term

benefits of opioid therapy for chronic pain.” In fact, the CDC found that “[n]o evidence shows a long-

term benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)”

and that other treatments were more or equally beneficial and less harmful than long-term opioid use.

The FDA, too, has recognized the lack of evidence to support long-term opioid use. In 2013, the

FDA stated that it was “not aware of adequate and well-controlled studies of opioids use longer than


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12 weeks.” Despite this, Defendants negligently and misleadingly touted the benefits of long-term

opioid use and negligently and misleadingly suggested that these benefits were supported by scientific

evidence. Not only have Defendants failed to correct these false and negligent claims, they continue

to make them today.

       83.     For example, the Pharmaceutical Defendants negligently claimed that long-term

opioid use improved patients’ function and quality of life, including the following misrepresentations:

(a) an Actavis advertisement claimed that the use of Kadian to treat chronic pain would allow patients

to return to work, relieve “stress on your body and your mental health,” and help patients enjoy their

lives; (b) an Endo advertisement that claimed that the use of Opana ER for chronic pain would allow

patients to perform demanding tasks, portraying seemingly healthy, unimpaired persons; (c) a Janssen

patient education guide Finding Relief: Pain Management for Older Adults stated as “a fact” that

“opioids may make it easier for people to live normally” such as sleeping peacefully, working,

recreation, sex, walking, and climbing stairs; (d) Responsible Opioid Prescribing, by Cephalon and

Endo, taught that relief of pain by opioids, by itself, improved patients’ function; (f) Cephalon

cosponsored APF’s Treatment Options: A Guide for People Living with Pain counseling patients that

opioids “give [pain patients] a quality of life we deserve;” (g) Endo’s NIPC website

painknowledge.com claimed that with opioids, “your level of function should improve; you may find

you are now able to participate in activities of daily living, such as work and hobbies, that you were

not able to enjoy when your pain was worse;” (h) Endo CMEs titled Persistent Pain in the Older

Patient claimed that chronic opioid therapy had been “shown to reduce pain and improve depressive

symptoms and cognitive functioning;” (i) Janssen sponsored, funded, and edited a website, Let’s Talk

Pain, in 2009, which featured an interview edited by Janssen claiming that opioids allowed a patient to

“continue to function.”

       84.     These claims find no support in the scientific literature. The 2016 CDC Guideline


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concluded that “there is no good evidence that opioids improve pain or function with long-term use,

and . . . complete relief of pain is unlikely” (emphasis added). The CDC reinforced this conclusion

throughout its 2016 Guideline:

        •     “No evidence shows a long-term benefit of opioids in pain and function versus no opioids
              for chronic pain with outcomes examined at least 1 year later . . .”

        •     “Although opioids can reduce pain during short-term use, the clinical evidence review
              found insufficient evidence to determine whether pain relief is sustained and whether
              function or quality of life improves with long-term opioid therapy.”

        •     “[E]vidence is limited or insufficient for improved pain or function with long-term use of
              opioids for several chronic pain conditions for which opioids are commonly prescribed,
              such as low back pain, headache, and fibromyalgia.”

        85.      The CDC also noted that the risks of addiction and death “can cause distress and

inability to fulfill major role obligations.” As a matter of common sense (and medical evidence), drugs

that can kill patients or commit them to a life of addiction or recovery do not improve their function

and quality of life.

        86.      The 2016 CDC Guideline was not the first time a federal agency repudiated the

Pharmaceutical Defendants’ claim that opioids improved function and quality of life. In 2010, the

FDA warned Actavis that “[w]e are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall positive

impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment of life.” In

2008, the FDA sent a warning letter to an opioid manufacturer, making it clear “that [the claim that]

patients who are treated with the drug experience an improvement in their overall function, social

function, and ability to perform daily activities . . . has not been demonstrated by substantial evidence

or substantial clinical experience.”

        87.      The Pharmaceutical Defendants also negligently and misleadingly emphasized or



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exaggerated the risks of competing products like NSAIDs, so that doctors and patients would look to

opioids first for the treatment of chronic pain. Once again, these misrepresentations by Defendants

contravene pronouncements by and guidance from the FDA and CDC based on the scientific

evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013 and IR opioids in 2016 to

state that opioids should only be used as a last resort “in patients for which alternative treatment

options” like non-opioid drugs “are inadequate.” The 2016 CDC Guideline states that NSAIDs, not

opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back pain.

        88.     Cephalon negligently marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid- tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA expressly

prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to approve

Fentora for the treatment of chronic pain because of the potential harm, including the high risk of

“serious and life-threatening adverse events” and abuse – which are greatest in non-cancer patients.

The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora should only be used

for cancer patients who are opioid-tolerant and should not be used for any other conditions, such as

migraines, post-operative pain, or pain due to injury.

        89.     Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was not

approved, appropriate, or safe. As part of this campaign, Cephalon used CMEs, speaker programs,

KOLs, journal supplements, and detailing by its sales representatives to give doctors the false

impression that Actiq and Fentora are safe and effective for treating non-cancer pain. For example:

(a) Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent and Breakthrough

Pain, published in a supplement of Pain Medicine News in 2009. The CME instructed doctors that


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“clinically, broad classification of pain syndromes as either cancer or noncancer-related has limited

utility” and recommended Actiq and Fentora for patients with chronic pain; (b) Cephalon’s sales

representatives set up hundreds of speaker programs for doctors, including many non-oncologists,

which promoted Actiq and Fentora for the treatment of non-cancer pain; and (c) in December 2011,

Cephalon widely disseminated a journal supplement entitled “Special Report: An Integrated Risk

Evaluation and Mitigation Strategy for Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl

Citrate (ACTIQ)” to Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three

publications that are sent to thousands of anesthesiologists and other medical professionals. The

Special Report openly promotes Fentora for “multiple causes of pain” – and not just cancer pain.

        90.     Cephalon’s negligent marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also approved

by the FDA for such uses.

        91.     Endo has been cited for its failure to set up an effective system for identifying and

reporting suspicious prescribing. In its settlement agreement with Endo, the State of New York found

that Endo failed to require sales representatives to report signs of abuse, diversion, and inappropriate

prescribing; paid bonuses to sales representatives for detailing prescribers who were subsequently

arrested or convicted for illegal prescribing; and failed to prevent sales representatives from visiting

prescribers whose suspicious conduct had caused them to be placed on a no-call list.

        92.     As a part of their negligent marketing scheme, the Pharmaceutical Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in FLORIDA. For

example, these Defendants focused their negligent marketing on primary care doctors, who were more

likely to treat chronic pain patients and prescribe them drugs, but were less likely to be educated about

treating pain and the risks and benefits of opioids and therefore more likely to accept Defendants’

misrepresentations.


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       93.      The Pharmaceutical Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and negligent. The history of opioids,

as well as research and clinical experience over the last 20 years, established that opioids were highly

addictive and responsible for a long list of very serious adverse outcomes. The FDA and other

regulators warned these Defendants of this, and these Defendants had access to scientific studies,

detailed prescription data, and reports of adverse events, including reports of addiction,

hospitalization, and deaths – all of which made clear the harms from long-term opioid use and that

patients are suffering from addiction, overdoses, and death in alarming numbers. More recently, the

FDA and CDC have issued pronouncements based on the medical evidence that conclusively expose

the known falsity of Defendants’ misrepresentations, and Endo has recently entered agreements

prohibiting them from making some of the same misrepresentations described in this Complaint in

New York.

       94.      Moreover, at all times relevant to this Complaint, the Pharmaceutical Defendants took

steps to avoid detection of and to fraudulently conceal their negligent marketing and unlawful, unfair,

and fraudulent conduct. For example, the Pharmaceutical Defendants disguised their own role in the

negligent marketing of chronic opioid therapy by funding and working through third parties like Front

Groups and KOLs. These Defendants purposefully hid behind the assumed credibility of these

individuals and organizations and relied on them to vouch for the accuracy and integrity of

Defendants’ false and negligent statements about the risks and benefits of long-term opioid use for

chronic pain.

       95.      The Pharmaceutical Defendants also never disclosed their role in shaping, editing, and

approving the content of information and materials disseminated by these third parties. These

Defendants exerted considerable influence on these promotional and “educational” materials in


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emails, correspondence, and meetings with KOLs, fake independent groups, and public relations

companies that were not, and have not yet become, public. For example, painknowledge.org, which

is run by the NIPC, did not disclose Endo’s involvement. Other Pharmaceutical Defendants, such as

Janssen, ran similar websites that masked their own direct role.

        96.     Finally, the Pharmaceutical Defendants manipulated their promotional materials and

the scientific literature to make it appear that these items were accurate, truthful, and supported by

objective evidence when they were not. These Defendants distorted the meaning or import of studies

they cited and offered them as evidence for propositions the studies did not support. The lack of

support for these Defendants’ negligent messages was not apparent to medical professionals who

relied upon them in making treatment decisions.

        97.     Thus, the Pharmaceutical Defendants successfully concealed from the medical

community, municipalities, patients, and health care payers facts sufficient to arouse suspicion of the

claims that the Plaintiff now assert. Plaintiff did not know of the existence or scope of Defendants’

industry-wide fraud and could not have acquired such knowledge earlier through the exercise of

reasonable diligence.

        98.     The Pharmaceutical Defendants’ misrepresentations deceived doctors and patients

about the risks and benefits of long-term opioid use. Studies also reveal that many doctors and patients

are not aware of or do not understand these risks and benefits. Indeed, patients often report that they

were not warned they might become addicted to opioids prescribed to them. As reported in January

2016, a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told opioids

were potentially addictive.

        99.     The Pharmaceutical Defendants’ negligent marketing scheme caused and continues to

cause doctors in FLORIDA to prescribe opioids for chronic pain conditions such as back pain,

headaches, arthritis, and fibromyalgia. Absent these Defendants’ negligent marketing scheme, these


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doctors would not have prescribed as many opioids. These Defendants’ negligent marketing scheme

also caused and continues to cause patients to purchase and use opioids for their chronic pain believing

they are safe and effective. Absent these Defendants’ negligent marketing scheme, fewer patients

would be using opioids long-term to treat chronic pain, and those patients using opioids would be

using less of them.

        100.    The Pharmaceutical Defendants’ negligent marketing has caused and continues to

cause the prescribing and use of opioids to explode. Indeed, this dramatic increase in opioid

prescriptions and use corresponds with the dramatic increase in Defendants’ spending on their

negligent marketing scheme. Defendants’ spending on opioid marketing totaled approximately $91

million in 2000. By 2011, that spending had tripled to $288 million.

        101.    The escalating number of opioid prescriptions written by doctors who were deceived

by the Pharmaceutical Defendants’ negligent marketing scheme is the cause of a correspondingly

dramatic increase in opioid addiction, overdose, and death throughout the U.S. and FLORIDA. In

August 2016, the U.S. Surgeon General published an open letter to be sent to physicians nationwide,

enlisting their help in combating this “urgent health crisis” and linking that crisis to negligent

marketing. He wrote that the push to aggressively treat pain, and the “devastating” results that

followed, had “coincided with heavy marketing to doctors . . . [m]any of [whom] were even taught –

incorrectly – that opioids are not addictive when prescribed for legitimate pain.”

        102.    Scientific evidence demonstrates a strong correlation between opioid prescriptions and

opioid abuse. In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

prescription opioids for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to reverse

the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”


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       103.    Contrary to the Pharmaceutical Defendants’ misrepresentations, most opioid

addiction begins with legitimately prescribed opioids, and therefore could have been prevented had

Defendants’ representations to prescribers been truthful. In 2011, 71% of people who abused

prescription opioids got them through friends or relatives, not from pill mills, drug dealers or the

internet. Numerous doctors and substance abuse counselors note that many of their patients, who

misuse or abuse opioids started with legitimate prescriptions, confirming the important role that

doctors’ prescribing habits have played in the opioid epidemic.

       Depomed

       104.    Depomed sales representatives misrepresented the safety and efficacy of its opioid

drugs to physicians. Depomed has, since at least October 2011, engaged in unsafe and/or unapproved

marketing of Lazanda and (with the acquisition from Janssen in January 2015) of Nucynta and

Nucynta ER.

       105.    Depomed sales representatives promoted Lazanda for unsafe and unapproved uses.

       106.    Lazanda is only indicated “for the management of breakthrough pain in cancer patients

18 years of age and older who are already receiving and who are tolerant to opioid therapy for their

underlying persistent cancer pain.” Despite the drug’s explicit limitation, Depomed actively promoted

Lazanda to physicians who do not treat cancer patients. Not only did Depomed instruct sales

representatives to promote Lazanda to non-cancer treating physicians, the Company also discouraged

sales representatives from marketing the drug to physicians treating cancer patients, even if the sales

representatives were successful in gaining these doctors' business.

       107.    When it launched Lazanda in 2011, the Company’s management, from the start,

disregarded the FDA’s limitations concerning Lazanda's usage, instructing its sales representatives to

target pain management physicians, particularly those who historically wrote large numbers of ROOs

and Lazanda-like drugs.


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        108.    Sales representatives were pressured to target pain management physicians. Area

managers at Depomed regularly supplied sales representatives with lists of target physicians containing

few, if any, physicians treating cancer patients. Of the typical call list containing approximately 100

physicians, under five generally treated cancer patients.

        109.    Depomed also strongly discouraged sales representatives from targeting physicians

treating cancer patients. Sales representatives had to “make a case” for using any portion of their

allotted marketing money to call on cancer treating physicians. And employees who did call on cancer

treating physicians were disciplined.

        110.    One Depomed sales representative, who worked in the Los Angeles area, was

chastised by management for targeting, almost exclusively, physicians treating cancer patients despite

the fact that he had been very successful in generating business from these physicians. This

representative was reprimanded for targeting physicians who could prescribe Lazanda for its indicated

use, and was told to stop targeting these physicians, and to think about how well he could be doing if

he was targeting potentially higher writerDepomed explicitly told sales representatives to market only

to non-cancer treating physicians by their managers, most notably Todd Wittenbach, the company’s

then head of sales for the United States.

        111.    Depomed sales representatives were also trained to deal with (rightful) pushback from

physicians. For example, when confronted with the common statement from a physician that “it’s

extremely rare that we see cancer patients,” Depomed trained sales representatives to divert the

conversation to the physician's use of other, similar medications. For example, sales representatives

were trained to respond by saying “well tell me about your patients taking Actiq,” and then extol the

relative benefits of switching those patients to Lazanda.

        112.    Due to the worsening headwinds within the opioid market, Depomed ultimately sold

Lazanda to Slán Medicinal Holdings on November 7, 2017.


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       113.    Depomed sales representatives promoted Nucynta and Nucynta ER for unsafe and

unapproved uses.

       114.    On April 2, 2015, Depomed acquired from Janssen and its affiliates the U.S. rights to

the Nucynta franchise of pharmaceutical products for $1.05 billion in cash. The Nucynta franchise is

an opioid that includes Nucynta ER (tapentadol) extended release tablets indicated for the

management of pain, including neuropathic pain associated with diabetic peripheral neuropathy

(DPN), severe enough to require daily, around-the-clock, long-term opioid treatment, Nucynta IR

(tapentadol), an immediate release version of tapentadol, for management of moderate to severe acute

pain in adults, and Nucynta (tapentadol) oral solution, an approved oral form of tapentadol that has

not been commercialized.

       115.    Nucynta’s annual sales increased in the U.S. from $189.9 million in 2015 to

approximately $281.3 million in 2016, quickly becoming Depomed’s best-selling product. This marked

a 48% year-over-year growth in sales of Nucynta in just one year.

       116.    The marketing strategy causing the astronomical growth in sales, however, was fueled

by Depomed’s illegal practices in connection with its marketing of Nucynta for unsafe and unapproved

uses. In particular, Depomed promoted the use of opioids for all manner of pain management while

downplaying the drug’s addictive nature, often promoting the drug as a safer alternative to opioids,

despite this not being on the FDA label.

       117.    Further, Depomed promoted an increase in dosage while focusing on family

physicians and internal medicine doctors who were less knowledgeable about the dangers of opioids.

In February 2017, Depomed’s former CEO increased its sales force for the specific purpose of

targeting primary care physicians.

       118.    The FDA-approved labels for both Nucynta IR and Nucynta ER describe the

tapentadol molecule as “a substance with a high potential for abuse similar to other opioids including


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fentanyl, hydrocodone, hydromorphone, methadone, morphine, oxycodone, and oxymorphone.”

Nowhere on the FDA-approved label does it say or mention that Nucynta is safer, more tolerable,

less abusive, or less addictive than other opioids. Despite this, Nucynta has a long history of its

manufacturer (formerly Janssen) claiming these benefits in its sales pitches and marketing.

        119.    Nonetheless, Depomed directed its sales representatives to market Nucynta for unsafe

and unapproved uses as a safer, less abusive, less addictive opioid that did not create the same euphoric

feeling as other opioids, even though this was not on the FDA-approved label.

        120.    Depomed management knew that the FDA-approved label for Nucynta contained no

information about it being safer, more tolerable, less addictive, or less abusive than alternative opioids,

and knew they could not market Nucynta this way. 245. On June 23, 2015 investor call, August

Moretti, Depomed's Senior Vice President and Chief Financial Officer, stated that “[a]lthough not in

the label, there’s a very low abuse profile and side effect rate.”

        121.    Additionally, in a March 14, 2015 presentation at the ROTH Conference, then

Depomed CEO Schoeneck stated: “The addiction profile is thought to be better. I can’t make a claim

around that because we don’t actually have that in the label.” In February 2017, Schoeneck also told

investors that Depomed was “initiating label enhancement studies, aimed at further differentiating

Nucynta by highlighting its respiratory depression and abuse potential profile. These labeling studies

will focus on the properties of the tapentadol molecule, and its uniqueness in the pain marketplace.”

The purpose of this was to “be able to get it hopefully into the label.”

        122.    Depomed’s marketing push was “Think Differently.” Sales representatives were told

that Nucynta is a “safer opioid.” They were told to tell physicians about Nucynta and its value to

patients in terms of, among other things, improved safety relative to other opioids on the market.

        123.    Depomed actively targeted primary care physicians with marketing presentations that

described Nucynta as a safer, less addictive, less abusive opioid that did not contain the same euphoric


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feeling as other opioids. Depomed did not have FDA-approval to market Nucynta in this manner,

and also did not have any independent scientific evidence to support these claims.

       124.    Depomed represented that Nucynta was uniquely positioned to combat the negative

public sentiment against Opioids. Former President and CEO James Schoeneck described to investors

that Nucynta had “different properties than the other opioids, particularly when it comes to the kind

of activity that the CDC and others are most concerned about” and that “there'll be relatively little

impact on [Depomed] compared to where some other companies may fall in at.”

       125.    Depomed knew that it could not promote Nucynta as a safer, less addictive, less

abusive opioid that did not have the same euphoric feeling on patients because these properties were

not on its FDA-approved label. Despite this knowledge, Depomed trained its sales representatives to

use these marketing tactics to sell Nucynta, using the same sales team as Janssen had to promote

Nucynta, knowing that Janssen was being sued for, among other things, improperly marketing

Nucynta.

       126.    Due to the worsening headwinds within the Opioid market, Depomed ultimately

entered into a commercialization agreement with Collegium Pharmaceutical, Inc., for the NUCYNTA

brand on December 4, 2017.

       Mallinckrodt

       127.    In FLORIDA and nationwide, Mallinckrodt is engaged in the manufacture,

promotion, distribution, and sale of opioids such as Roxicodone, Exalgo, Xartemis XR, as well as

oxycodone and other generic opioids.

       128.    Mallinckrodt engaged in widespread conduct aimed at vastly increasing profits

resulting from the sale of opioid drugs by increasing prescriber demand, increasing patient demand,

facilitating insurance coverage, and nurturing the thriving black market for opioid drugs by concealing

evidence of drug diversion.


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        129.    Upon information and belief, Mallinckrodt promoted the use of opioids for chronic

pain through “detailers,” who were sales representatives who visited individual physicians and their

staff in their offices and small group speaker programs. Mallinckrodt sales representatives

misrepresented the safety and efficacy of its opioid drugs to physicians.

        130.    Mallinckrodt provided substantial funding to purportedly neutral organizations which

disseminated false messaging about opioids. For example, until at least February 2009, Mallinckrodt

provided an educational grant to Pain- Topics.org, a now-defunct website that touted itself as “a

noncommercial resource for HCPs, providing open access to clinical news, information, research, and

education for a better understanding of evidence-based pain-management practices.”

        131.    In November 2016, Mallinckrodt paid Dr. Scott Gottlieb (“Gottlieb”), the new

commissioner of the FDA, $22,500 for a speech in London, shortly after the U.S. presidential election.

Gottlieb has also received money from the HDA, an industry-funded organization that pushes the

agenda of large pharmaceutical wholesalers, and he has often criticized efforts aimed at regulating the

pharmaceutical opioid market.

        132.    Mallinckrodt, combined with five other opioids manufacturers, made payments

exceeding $140,000 to ten members of the ACPA Advisory Board.

        133.    Mallinckrodt’s aggressive and misleading marketing to prescribers and consumers,

development of fake scientific substantiation and literature, and failure to prevent, monitor, identify,

and report drug diversion, all contributed to a vast increase in opioid overuse and addiction.

        134.    Mallinckrodt, plc, Mallinckrodt, LLC and SpecGx, LLC and their subsidiaries are

“Pharmaceutical Defendants” as used in the existing complaint. Plaintiff adopts all allegations and

causes of action alleged against the Pharmaceutical Defendants in the existing complaint.

        Par Pharmaceutical

        135.    Par Pharmaceutical is an affiliate of Defendants Endo Health Solutions Inc. (“EHS”)


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and Endo Pharmaceuticals, Inc. (“EPI). EHS, EPI, and Par Pharmaceutical, and their DEA registrant

subsidiaries and affiliates (collectively, “Endo”), manufacture opioids sold throughout the United

States. Plaintiff adopts all allegations and causes of action alleged against Endo and the Pharmaceutical

Defendants alleged in the existing complaint against Par Pharmaceutical.

        Noramco

        136.    Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital. All allegations

pertaining to Janssen also apply to Noramco. Plaintiff adopts all allegations and causes of action

alleged against the Pharmaceutical Defendants alleged in the existing complaint against Noramco.

        Invidior

        137.    Invidior manufactures and distributes buprenorphine-based prescription drugs for

treatment of opioid dependence. Buprenorphine is a Schedule III drug. The company offers

medication under the brand name Suboxone and sublingual tablets under the brand name Subutex.

Indivor, Inc. has manufactured and/or labeled Buprenorphine shipped to FLORIDA. Plaintiff adopts

all allegations and causes of action alleged against the Pharmaceutical Defendants alleged in the

existing complaint against Invidior.

                DISTRIBUTOR DEFENDANTS’ WRONGFUL CONDUCT

        138.    The supply chain for prescription opioids begins with the manufacture and packaging

of the pills. The manufacturers then transfer the pills to distribution companies, including Defendants

Cardinal, McKesson, and AmerisourceBergen, which together account for 85-90 % of all revenues

from drug distribution in the United States, an estimated $378.4 billion in 2015. The distributors then

supply opioids to pharmacies, doctors, and other healthcare providers, which then dispense the drugs

to patients.


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        139.    Manufacturer Defendants and Distributor Defendants share the responsibility for

controlling the availability of prescription opioids. Opioid “diversion” occurs whenever the supply

chain of prescription opioids is broken, and the drugs are transferred from a legitimate channel of

distribution or use, to an illegitimate channel of distribution or use. Diversion can occur at any point

in the opioid supply chain.

        140.    For example, at the wholesale level of distribution, diversion occurs whenever

distributors allow opioids to be lost or stolen in transit, or when distributors fill suspicious orders of

opioids from buyers, retailers, or prescribers. Suspicious orders include orders of unusually large size,

orders that are disproportionately large in comparison to the population of a community served by

the pharmacy, orders that deviate from a normal pattern, and/or orders of unusual frequency and

duration.

        141.    Diversion occurs through the use of stolen or forged prescriptions at pharmacies, or

the sale of opioids without prescriptions, including patients seeking prescription opioids under false

pretenses.

        142.    Opioid diversion occurs in the United States at an alarming rate. In recent years, the

number of people who take prescription opioids for non-medical purposes is greater than the number

of people who use cocaine, heroin, hallucinogens, and inhalants combined.

        143.    Every year, thousands of people in FLORIDA misuse and abuse opioid pain relievers

that can lead to addiction, neonatal abstinence syndrome, overdose and death.

        144.    Within the last 20 years, the abuse of prescription narcotic pain relievers has emerged

as a public health crisis in the United States.

        145.    The dramatic rise in heroin use in recent years is a direct result of prescription opioid

diversion. The strongest risk factor for a heroin use disorder is prescription opioid use. In one national

study covering the period 2008 to 2010, 77.4% of the participants reported using prescription opioids


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before initiating heroin use. Another study revealed that 75% of those who began their opioid abuse

in the 2000s started with prescription opioid. The CDC has reported that people who are dependent

on prescription opioid painkillers are 40 times more likely to become dependent on heroin.

        146.    Plaintiff has been significantly damaged by the effects of the Distributor Defendants’

opioid diversion.

        147.    Distributor Defendants have a duty to exercise reasonable care under the

circumstances. This involves a duty not to create a foreseeable risk of harm to others. Additionally,

one who engages in affirmative conduct, and thereafter realizes or should realize that such conduct

has created an unreasonable risk of harm to another, is under a duty to exercise reasonable care to

prevent the threatened harm.

        148.    In addition to having common law duties, the Distributor Defendants are governed

by the statutory requirements of the Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq. and

its implementing regulations. These requirements were enacted to protect society from the harms of

drug diversion. The Distributor Defendants’ violations of these requirements show that they failed to

meet the relevant standard of conduct that society expects from them. The Distributor Defendants’

repeated, unabashed, and prolific violations of these requirements show that they have acted in total

reckless disregard.

        149.    By violating the CSA, the Distributor Defendants are also liable under the law of

FLORIDA as herein alleged.

        150.    The CSA creates a legal framework for the distribution and dispensing of controlled

substances. Congress passed the CSA partly out of a concern about “the widespread diversion of

[controlled substances] out of legitimate channels into the illegal market.” H.R. Rep. No. 91-1444,

1970 U.S.C.C.A.N. at 4566, 4572.

        151.    Accordingly, the CSA acts as a system of checks and balances from the manufacturing


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level through delivery of the pharmaceutical drug to the patient or ultimate user. Every person or

entity that manufactures, distributes, or dispenses opioids must obtain a “registration” with the DEA.

Registrants at every level of the supply chain must fulfill their obligations under the CSA, otherwise

controlled substances move from the legal to the illicit marketplace, and there is enormous potential

for harm to the public.

        152.    All opioid distributors are required to maintain effective controls against opioid

diversion. They are also required to create and use a system to identify and report downstream

suspicious orders of controlled substances to law enforcement. Suspicious orders include orders of

unusual size, orders deviating substantially from the normal pattern, and orders of unusual frequency.

To comply with these requirements, distributors must know their customers, report suspicious orders,

conduct due diligence, and terminate orders if there are indications of diversion.

        153.    To prevent unauthorized users from obtaining opioids, the CSA creates a distribution

monitoring system for controlled substances, including registration and tracking requirements

imposed upon anyone authorized to handle controlled substances. The DEA’s Automation of Reports

and Consolidation Orders System (“ARCOS”) is an automated drug reporting system that records

and monitors the flow of Schedule II controlled substances from point of manufacture through

commercial distribution channels to point of sale. ARCOS accumulates data on distributors’

controlled substances, acquisition transactions, and distribution transactions, which are then

summarized into reports used by the DEA to identify any diversion of controlled substances into illicit

channels of distribution. Each person or entity that is registered to distribute ARCOS Reportable

controlled substances must report acquisition and distribution transactions to the DEA.

        154.    Acquisition and distribution transaction reports must provide data on each acquisition

to inventory (identifying whether it is, e.g., by purchase or transfer, return from a customer, or supply

by the Federal Government) and each reduction from inventory (identifying whether it is, e.g., by sale


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or transfer, theft, destruction or seizure by Government agencies) for each ARCOS Reportable

controlled substance. 21 U.S.C. § 827(d) (l); 21 C.F.R. §§ 1304.33(e), (d). Inventory that has been lost

or stolen must also be reported separately to the DEA within one business day of discovery of such

loss or theft.

        155.     In addition to filing acquisition/distribution transaction reports, each registrant is

required to maintain a complete, accurate, and current record of each substance manufactured,

imported, received, sold, delivered, exported, or otherwise disposed of. 21 U.S.C. §§ 827(a)(3),

1304.2l(a), 1304.22(b). It is unlawful for any person to negligently fail to abide by the recordkeeping

and reporting requirements.

        156.     To maintain registration, distributors must also maintain effective controls against

diversion of controlled substances into other than legitimate medical, scientific and industrial channels.

When determining if a distributor has provided effective controls, the DEA Administrator refers to

the security requirements set forth in §§ 130 1.72-1301.76 as standards for the physical security

controls and operating procedures necessary to prevent diversion. 21 CFR § 1301.71.

        157.     For years the Distributor Defendants have known of the problems and consequences

of opioid diversion in the supply chain, and have committed repeated violations of the laws and

regulations of the United States as cited above consequently making them liable under FLORIDA

law.

        158.     To combat the problem of opioid diversion, the DEA has provided guidance to

distributors on the requirements of suspicious order reporting in numerous venues, publications,

documents, and final agency actions. Since 2006, the DEA has conducted one-on-one briefings with

distributors regarding their downstream customer sales, due diligence responsibilities, and legal and

regulatory responsibilities (including the responsibility to know their customers and report suspicious

orders to the DEA). The DEA provided distributors with data on controlled substance distribution


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patterns and trends, including data on the volume of orders, frequency of orders, and percentage of

controlled vs. non-controlled purchases. The distributors were given case studies, legal findings against

other registrants, and ARCOS profiles of their customers whose previous purchases may have

reflected suspicious ordering patterns. The DEA emphasized the “red flags” distributors should look

for to identify potential diversion.

        159.    Since 2007, the DEA has hosted no less than five conferences to provide opioid

distributors with updated information about diversion trends. The Defendant Distributors attended

at least one of these conferences, which allowed for questions and discussions. The DEA has

participated in numerous meetings and events with the legacy Healthcare Distribution Management

Association (HDMA), now known as the Healthcare Distribution Alliance (HAD), an industry trade

association for wholesalers and distributors. DEA representatives have provided guidance to the

association concerning suspicious order monitoring, and the association has published guidance

documents for its members on suspicious order monitoring, reporting requirements, and the diversion

of controlled substances.

        160.    On September 27, 2006 and December 27, 2007, the DEA Office of Diversion

Control sent letters to all registered distributors providing guidance on suspicious order monitoring

of controlled substances and the responsibilities and obligations of the registrant to conduct due

diligence on controlled substance customers as part of a program to maintain effective controls against

diversion.

        161.    The September 27, 2006 letter reminded registrants that they were required by law to

exercise due diligence to avoid filling orders that could be diverted into the illicit market. The DEA

explained that as part of the legal obligation to maintain effective controls against diversion, the

distributor was required to exercise due care in confirming the legitimacy of each and every order prior

to filling. It also described circumstances that could be indicative of diversion including ordering


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excessive quantities of a limited variety of controlled substances while ordering few if any other drugs;

disproportionate ratio of ordering controlled substances versus non-controlled prescription drugs; the

ordering of excessive quantities of a limited variety of controlled substances in combination with

lifestyle drugs; and ordering the same controlled substance from multiple distributors. The letter went

on to describe what questions should be answered by a customer when attempting to make a

determination if the order is indeed suspicious.

        162.    On December 27, 2007, the Office of Diversion Control sent a follow-up letter to

DEA registrants providing guidance and reinforcing the legal requirements outlined in the September

2006 correspondence. The letter reminded registrants that suspicious orders must be reported when

discovered and monthly transaction reports of excessive purchases did not meet the regulatory criteria

for suspicious order reporting. The letter also advised registrants that they must perform an

independent analysis of a suspicious order prior to the sale to determine if the controlled substances

would likely be diverted, and that filing a suspicious order and then completing the sale does not

absolve the registrant from legal responsibility. Finally, the letter directed the registrant community to

review a recent DEA action that addressed criteria in determining suspicious orders and their

obligation to maintain effective controls against diversion.

        163.    The Distributor Defendants’ own industry group, the Healthcare Distribution

Management Association, published Industry Compliance Guidelines titled “Reporting Suspicious

Orders and Preventing Diversion of Controlled Substances,” emphasizing the critical role of each

member of the supply chain in distributing controlled substances.

        164.    These industry guidelines stated: “At the center of a sophisticated supply chain,

distributors are uniquely situated to perform due diligence in order to help support the security of

controlled substances they deliver to their customers.”

        165.    Opioid distributors have admitted to the magnitude of the problem and, at least


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superficially, their legal responsibilities to prevent diversion. They have made statements assuring the

public they are supposedly undertaking a duty to curb the opioid epidemic.

          166.     For example, a Cardinal executive claimed that Cardinal uses “advanced analytics” to

monitor its supply chain. He further extolled that Cardinal was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity” (emphasis

added).

          167.     McKesson has publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders” and claimed it is “deeply passionate about

curbing the opioid epidemic in our Country.”

          168.     These assurances, on their face, of identifying and eliminating criminal activity and

curbing the opioid epidemic create a duty for the Distributor Defendants to take reasonable measures

to do just that.

          169.     In addition to the obligations imposed by law, through their own words,

representations, and actions, the Distributor Defendants have voluntarily undertaken a duty to protect

the public at large against diversion from their supply chains, and to curb the opioid epidemic. In this

voluntary undertaking, the Distributor Defendants have miserably and negligently failed.

          170.     The Distributors Defendants have knowingly or negligently allowed diversion. Their

wrongful conduct and inaction have resulted in numerous civil fines and other penalties recovered by

state and federal agencies- including actions by the DEA related to violations of the Controlled

Substances Act.

          171.     In 2008, Cardinal paid a $34 million penalty to settle allegations about opioid diversion

taking place at seven of its warehouses in the United States. In 2012, Cardinal reached an

administrative settlement with the DEA relating to opioid diversion between 2009 and 2012 in

multiple states. In December 2016, a Department of Justice press release announced a multi-million


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dollar settlement with Cardinal for violations of the Controlled Substances Act. In connection with

the investigations of Cardinal, the DEA uncovered evidence that Cardinal’s own investigator warned

Cardinal against selling opioids to certain pharmacies.

        172.    In May 2008, McKesson entered into a settlement with the DEA on claims that

McKesson failed to maintain effective controls against diversion of controlled substances. McKesson

allegedly failed to report suspicious orders from rogue Internet pharmacies around the Country,

resulting in millions of doses of controlled substances being diverted. McKesson agreed to pay a

$13.25 million civil fine. McKesson also was supposed to implement tougher controls regarding opioid

diversion. McKesson utterly failed. McKesson's system for detecting “suspicious orders” from

pharmacies was so ineffective and dysfunctional that at one of its facilities in Colorado between 2008

and 2013, it filled more than 1.6 million orders, for tens of millions of controlled substances, but it

reported just 16 orders as suspicious, all from a single consumer. In 2015, McKesson was in the middle

of allegations concerning its “suspicious order reporting practices for controlled substances.” In early

2017, it was reported that McKesson agreed to pay $150 million to the government to settle certain

opioid diversion claims that it allowed drug diversion at 12 distribution centers in 11 states.

        173.    In 2007, AmerisourceBergen lost its license to send controlled substances from a

distribution center amid allegations that it was not controlling shipments of prescription opioids to

Internet pharmacies. Again in 2012, AmerisourceBergen was implicated for failing to protect against

diversion of controlled substances into non-medically necessary channels. It has been reported that

the U.S. Department of Justice has subpoenaed AmerisourceBergen for documents in connection

with a grand jury proceeding seeking information on the company’s “program for controlling and

monitoring diversion of controlled substances into channels other than for legitimate medical,

scientific and industrial purposes.”

        174.    Relying upon state laws and regulation, various state boards of pharmacy have directly


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disciplined the wholesale distributors of prescription opioids for failure to prevent diversion, a duty

recognized under state laws and regulations.

        175.    Although distributors have been penalized by law enforcement authorities, these

penalties have not changed their conduct. They pay fines as a cost of doing business in an industry

that generates billions of dollars in revenue and profit.

        176.    The Distributor Defendants have the ability and owe the duty to prevent opioid

diversion, which presented a known or foreseeable risk of damage to Plaintiff.

        177.    The Distributor Defendants have supplied massive quantities of prescription opioids

in FLORIDA with the actual or constructive knowledge that the opioids were ultimately being

consumed by citizens for non-medical purposes. Many of these shipments should have been stopped

or investigated as suspicious orders, but the Distributor Defendants negligently or intentionally failed

to do so.

        178.    Each Distributor Defendant knew or should have known that the amount of the

opioids that it allowed to flow into FLORIDA was far in excess of what could be consumed for

medically-necessary purposes in the relevant communities (especially given that each Distributor

Defendant knew it was not the only opioid distributor servicing those communities).

        179.    The Distributor Defendants negligently or intentionally failed to adequately control

their supply lines to prevent diversion. A reasonably-prudent distributor of Schedule II controlled

substances would have anticipated the danger of opioid diversion and protected against it by, for

example, taking greater care in hiring, training, and supervising employees; providing greater oversight,

security, and control of supply channels; looking more closely at the pharmacists and doctors who

were purchasing large quantities of commonly-abused opioids in amounts greater than the populations

in those areas would warrant; investigating demographic or epidemiological facts concerning the

increasing demand for narcotic painkillers in FLORIDA; providing information to pharmacies and


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retailers about opioid diversion; and in general, simply following applicable statutes, regulations,

professional standards, and guidance from government agencies and using a little bit of common

sense.

         180.    On information and belief, the Distributor Defendants made little to no effort to visit

the pharmacies servicing patients and citizens of FLORIDA to perform due diligence inspections to

ensure that the controlled substances the Distributors Defendants had furnished were not being

diverted to illegal uses.

         181.    On information and belief, the compensation the Distributor Defendants provided to

certain of their employees was affected, in part, by the volume of their sales of opioids to pharmacies

and other facilities servicing the patients and citizens of FLORIDA, thus improperly creating

incentives that contributed to and exacerbated opioid diversion and the resulting epidemic of opioid

abuse.

         182.    It was reasonably foreseeable to the Distributor Defendants that their conduct in

flooding the consumer market of FLORIDA with highly-addictive opioids would allow opioids to fall

into the hands of children, addicts, criminals, and other unintended users.

         183.    It is reasonably foreseeable to the Distributor Defendants that, when unintended users

gain access to opioids, tragic preventable injuries will result, including addiction, neo-natal addiction,

and NAS.

         184.    The Distributor Defendants knew or should have known that the opioids being

diverted from their supply chains would create access to opioids by unauthorized users, which, in turn,

perpetuates the cycle of addiction, demand, illegal transactions, economic ruin, and human tragedy.

         185.    The Distributor Defendants knew or should have known that a substantial amount of

the opioids dispensed to patients and citizens of FLORIDA were being dispensed based on invalid or

suspicious prescriptions. It is foreseeable that filling suspicious orders for opioids will cause harm to


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individual pharmacy customers, third-parties, Plaintiff.

        186.    The Distributor Defendants were aware of widespread prescription opioid abuse of

persons who would become patients in FLORIDA, but they nevertheless persisted in a pattern of

distributing commonly abused and diverted opioids in geographic areas-and in such quantities, and

with such frequency- that they knew or should have known these commonly abused controlled

substances were not being prescribed and consumed for legitimate medical purposes.

        187.    If any of the Distributor Defendants adhered to effective controls to guard against

diversion, the Plaintiff would have avoided significant damages.

        188.    The Distributor Defendants made substantial profits over the years based on the

diversion of opioids affecting FLORIDA. Their participation and cooperation in a common enterprise

has foreseeably caused damages to Plaintiff. The Distributor Defendants knew full well that Plaintiff

would be unjustly forced to bear these injuries and damages.

        189.    The Distributor Defendants’ intentional distribution of excessive amounts of

prescription opioids to communities showed an intentional or reckless disregard for Plaintiff. Their

conduct poses a continuing economic threat to the communities that must deal with ongoing needs

of children afflicted with NAS.

        CVS

        190.    CVS, through its various DEA registered subsidiaries and affiliated entities, conducts

business as a licensed wholesale distributor. CVS also operates retail stores, including in FLORIDA,

that sell prescription medicines, including opioids.

        191.    At all times relevant to this Complaint, CVS distributed prescription opioids and

engaged in the retail selling of opioids throughout the United States, including in FLORIDA.

        192.    CVS is one of the largest companies in the world, with annual revenue of more than

$150 billion. According to news reports, it manages medications for nearly 90 million customers at


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9,700 retail locations.

        193.    CVS is a repeat offender and recidivist: the company has paid fines totaling over $40

million as the result of a series of investigations by the DEA and the United States Department of

Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed its

pharmacies to continue dispensing opioids in quantities significantly higher than any plausible medical

need would require, and to continue violating its recordkeeping and dispensing obligations under the

CSA.

        194.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies failed

to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.

        195.    This fine was preceded by numerous others throughout the country.

        196.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and the

DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under the

CSA and filling prescriptions with no legitimate medical purpose.

        197.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.

        198.    In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

monitoring program website and review a patient’s prescription history before dispensing certain

opioid drugs.

        199.    In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that 50

of its stores violated the CSA by filling forged prescriptions for controlled substances—mostly

addictive painkillers—more than 500 times between 2011 and 2014.

        200.    In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s


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Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United States

alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions with invalid

DEA numbers, and filled multiple prescriptions written by psychiatric nurse practitioners for

hydrocodone, despite the fact that these practitioners were not legally permitted to prescribe that drug.

Additionally, the government alleged that CVS had recordkeeping deficiencies.

        201.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA investigation

that found that employees at two pharmacies in Sanford, Florida, had dispensed prescription opioids,

“based on prescriptions that had not been issued for legitimate medical purposes by a health care

provider acting in the usual course of professional practice. CVS also acknowledged that its retail

pharmacies had a responsibility to dispense only those prescriptions that were issued based on

legitimate medical need.”

        202.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.

        203.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City metropolitan

area.

        204.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere intentionally

violated the CSA by filling prescriptions signed by prescribers with invalid DEA registration numbers.

        205.    CVS has had knowledge and/or notice of the opioid problem since at least 2002.

        206.    At any time since CVS had knowledge and/or notice of the opioid problem it could

have unilaterally taken steps to curtail and prevent expansion of the problem, but it failed to do so.

        207.    In their capacity as wholesale distributors, CVS and its subsidiaries are “Distributor


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Defendants” as used in the existing complaint. Plaintiff adopt all allegations and causes of action

alleged against the Distributor Defendants in the existing complaint against CVS.

        Rite Aid

        208.    Rite Aid, through its various DEA registered subsidiaries and affiliated entities,

conducts business as a licensed wholesale distributor. Rite-Aid also operates retail stores, including in

FLORIDA, that sell prescription medicines, including opioids.

        209.    At all times relevant to this Complaint, Rite Aid, through its various DEA registered

subsidiaries and affiliated entities, distributed prescription opioids and engaged in the retail selling of

opioids throughout the United States, including in FLORIDA.

        210.    With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid is

the third-largest drug store chain in the United States, with annual revenue of more than $21 billion.

        211.    In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of the

CSA.

        212.    The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

country had a pattern of non-compliance with the requirements of the CSA and federal regulations

that lead to the diversion of prescription opioids in and around the communities of the Rite Aid

pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances in

violation of 21 USC 842(a)(5) and 21 C.F.R1301.76(b).

        213.    In their capacity as wholesale distributors, Rite-Aid and its subsidiaries are “Distributor

Defendants” as used in the existing complaint. Plaintiff adopts all allegations and causes of action

alleged against the Distributor Defendants in the existing complaint against Rite Aid.

        Walgreens

        214.    Walgreens, through its various DEA registered subsidiaries and affiliated entities,


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conducts business as a licensed wholesale distributor. At all times relevant to this Complaint,

Walgreens distributed prescription opioids and engaged in the retail selling of opioids throughout the

United States, including in FLORIDA.

        215.        Walgreens is the second-largest pharmacy store chain in the United States behind CVS,

with annual revenue of more than $118 billion. According to its website, Walgreens operates more

than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in fiscal 2017.

        216.        Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing violations of

the CSA, including negligently allowing controlled substances such as oxycodone and other

prescription opioids to be diverted for abuse and illegal black market sales.

        217.        The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids into

illicit channels.

        218.        Walgreens’ FLORIDA operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ FLORIDA pharmacies each allegedly

ordered more than one million dosage units of oxycodone in 2011—more than ten times the average

amount.

        219.        They increased their orders over time, in some cases as much as 600% in the space of

just two years, including, for example, supplying a town of 3,000 with 285,800 orders of oxycodone

in a one-month period. Yet Walgreens corporate officers turned a blind eye to these abuses. In fact,

corporate attorneys at Walgreens suggested, in reviewing the legitimacy of prescriptions coming from

pain clinics, that “if these are legitimate indicators of inappropriate prescriptions perhaps we should

consider not documenting our own potential noncompliance,” underscoring Walgreens’ attitude that


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profit outweighed compliance with the CSA or the health of communities.

       220.    Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in FLORIDA. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to Walgreens’

FLORIDA pharmacies, and provided bonuses for pharmacy employees based on number of

prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010, Defendant

Walgreens ranked all of its FLORIDA stores by number of oxycodone prescriptions dispensed in

June of that year, and found that the highest-ranking store in oxycodone sales sold almost 18

oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter Center.

       221.    Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).

       222.    The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

use of some Medicaid patients who were considered high-risk.

       223.    In January 2017, an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

professional judgment when dispensing opioids and other controlled substances—despite the context

of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and follow certain

procedures for dispensing opioids.

       224.    In their capacity as wholesale distributors, Walgreens and its subsidiaries are

“Distributor Defendants” as used in the existing complaint. Plaintiff adopts all allegations and causes

of action alleged against the Distributor Defendants in the existing complaint against Walgreens.

       Wal-Mart

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        225.    Walmart, through its various DEA registered affiliated entities, conducts business as a

licensed wholesale distributor. At all times relevant to this Complaint, Wal-Mart distributed

prescription opioids throughout the United States.

        226.    In its capacity as a wholesale distributor, Wal-Mart is a “Distributor Defendant” as

used in the existing complaint. Plaintiff adopts all allegations and causes of action alleged against the

Distributor Defendants in the existing complaint against Wal-Mart.

        Miami-Luken

        227.    During all relevant times, upon information and belief, Miami-Luken has distributed

substantial amounts of prescription opioids to providers and retailers in FLORIDA.

        228.    On November 23, 2015, the DEA issued an Order to Show Cause to begin the process

of revoking Miami-Luken’s Certificate of DEA Registration.

        229.    In its revocation proceeding, the DEA has alleged that Miami-Luken failed to maintain

effective controls against diversion of controlled substances and that the company failed to operate a

system to disclose suspicious orders of controlled substances when it shipped controlled substances,

particularly oxycodone and hydrocodone, to customers in southern Ohio, eastern FLORIDA, and

southern West Virginia.

        230.    In early 2016, Miami-Luken agreed to pay the state of West Virginia $2.5 million to

resolve allegations that the company knowingly shipped opioids to West Virginia pharmacies without

exercising sufficient monitoring or control.

        231.    In its capacity as a wholesale distributor, Miami-Luken is a “Distributor Defendant”

as used in the existing complaint. Plaintiff adopts all allegations and causes of action alleged against

the Distributor Defendants in the existing complaint against Miami-Luken.

        CostCo

        232.    Costco failed to track and report suspicious sales of its opioid drugs.


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        233.    Costco is a “registrant” under the federal CSA, 21 C.F.R. §1300.02(b), which defines

a registrant as any person who is registered with the DEA under 21 U.S.C. § 823. Section 823, in turn,

requires pharmacies dispensing Schedule II controlled substances to register with the DEA.

        234.    Contrary to its duties as a registrant, in 2017, Costco Wholesale was fined $11.75

million as a result of a multijurisdictional investigation by the DOJ relating to CSA violations.

        235.    According to the investigation, Costco pharmacies filled prescriptions that were

incomplete, lacked valid DEA registration numbers or were for substances beyond various doctors’

scope of practice. Additionally, the settlement resolves allegations that Costco failed to keep and

maintain accurate records for controlled substances at its pharmacies.

        236.    Between January 1, 2012 and December 31, 2015, certain Costco pharmacies

dispensed controlled substances inconsistent with their compliance obligations under the CSA and its

implementing regulations. The violations include: filling prescriptions from practitioners who did not

have a valid DEA number, incorrectly recording the practitioner’s DEA number, filling prescriptions

outside the scope of a practitioner’s DEA registration, filling Prescriptions that did not contain all the

required information, failing to maintain accurate dispensing records, and failing to maintain records

for their central fill locations in Sacramento, California and Everett, Washington.

        237.    According to U.S. Attorney Eileen M. Decker: “These are not just administrative or

paperwork violations – Costco’s failure to have proper controls in place in its pharmacies played a role

in prescription drugs reaching the black market….”

        238.    Furthermore, Costco could and should have taken action that: (a) limited to 7 days the

supply of opioids dispensed for certain acute prescriptions; (b) reduced the dispensing of stronger and

extended release opioids; (c) enhanced pharmacist counseling for new opioid patients; (d) limited the

daily dosage of opioids dispensed based on the strength of the opioid; and (e) required the use of

immediate- release formulations of opioids before extended-release opioids are dispensed.


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        239.     Having knowledge and/or notice of the damages that Costco’s conduct had caused to

Plaintiff, Costco failed to take other steps to help curb the damages already incurred by Plaintiff due

to Defendants, including Costco, could have: (a) donated medication disposal units to community

police departments across the country to ensure unused opioid painkillers are disposed of properly

rather than taken by individuals to whom the prescription was not written or otherwise diverted or

abused; (b) implemented a program that consists of providing counseling to patients who are receiving

an opioid prescription for the first time, such as by discussing the risks of dependence and addiction

associated with opioid use and discussing and answering any questions or concerns such patients may

have; (c) run public education campaigns in which Costco ran public education programs; (d) limited

to 7 days the supply of opioids dispensed for certain acute prescriptions; (e) reduced the dispensing

of stronger and extended release opioids; (f) enhanced pharmacist counseling for new opioid patients;

(g) limited the daily dosage of opioids dispensed based on the strength of the opioid; and h) required

the use of immediate-release formulations of opioids before extended-release opioids are dispensed.

        240.     Costco could have and should have implemented these measures at any point in the

last 15 years.

        241.     And the failure to take such steps that Costco should have taken was negligent and did

result in significant damages to Plaintiff.

        242.     In its capacity as a wholesale distributor, CostCo is a “Distributor Defendant” as used

in the existing complaint. Plaintiff adopts all allegations and causes of action alleged against the

Distributor Defendants in the existing complaint against CostCo.

        H .D. Smith

        243.     Smith is a privately held independent pharmaceuticals distributor of wholesale brand,

generic, and specialty pharmaceuticals. At all times relevant to this Complaint, H. D. Smith distributed

prescription opioids throughout the United States.


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        244.    H. D. Smith has also routinely been found to have violated its duties to report

suspicious orders and halt suspicious shipments of prescription opioids. According to a recent letter

from the U.S. House of Representatives Committee on Energy and Commerce, data provided to the

Committee showed that between 2007 and 2008, H. D. Smith provided two pharmacies in Williamson,

WV, a town with a population of 3,191, combined total of nearly 5 million hydrocodone and

oxycodone pills - approximately 1,565 hydrocodone and oxycodone pills for every man, woman, and

child in Williamson, WV.188 According to press reports, H. D. Smith distributed approximately 13.7

million hydrocodone and 4.4 million oxycodone pills to West Virginia between 2007 and 2012.189

Press accounts further indicate that H. D. Smith did not submit any suspicious order reports to the

state for at least a decade.190 Upon information and belief, H. D. Smith engaged in similar wrongful

activities in FLORIDA.

        245.    In its capacity as a wholesale distributor, H.D. Smith is a “Distributor Defendant” as

used in the existing complaint. Plaintiff adopts all allegations and causes of action alleged against the

Distributor Defendants in the existing complaint against H.D. Smith.

        Anda

        246.    Through its various DEA registrant subsidiaries and affiliated entities, Anda is the

fourth largest distributor of generic pharmaceuticals in the United States. In October 2016, Defendant

Teva Pharmaceuticals USA, Inc. (“Teva”) acquired Anda for $500 million in cash. At all times relevant

to this Complaint, Anda distributed prescription opioids throughout the United States, including in

FLORIDA.

        247.    In its capacity as a wholesale distributor, Anda is a “Distributor Defendant” as used in

the existing complaint. Plaintiff adopts all allegations and causes of action alleged against the

Distributor Defendants in the existing complaint against Anda.




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Discovery Rule and Tolling

       248.    The Defendants’ unfair and deceptive conduct was well concealed, and only recently

uncovered through exhaustive investigation and research. The defendants deliberately conducted

much of their deception through in-person sales visits, in order to avoid generating a potentially

discoverable paper trail of their misconduct.

       249.    Discovering the nature and extent of the defendants’ unfair and deceptive conduct has

been a time-consuming and complex process, further strained by defendants’ lack of cooperation and

baseless denials. Due to Defendants’ deception, any statutes of limitation otherwise applicable to any

claims asserted herein against all defendants have been tolled by the discovery rule and rules regarding

fraudulent concealment.




                                       CAUSES OF ACTION

                                     COUNT I – NUISANCE

       250.    Plaintiff reasserts the allegations of the foregoing paragraphs as if set forth fully herein.

       251.    The nuisance is the over-saturation of opioids in FLORIDA for non­medical

purposes, as well as the adverse social, economic, and human health outcomes associated with

widespread illegal opioid use, including the increasing incidence of NAS.

       252.    All Defendants substantially participated in nuisance-causing activities.

       253.    Defendants’ nuisance-causing activities include selling or facilitating the excessive sale

of prescription opioids to the patients and citizens of FLORIDA, as well as to unintended users,

including newborns and children, pregnant women, and potential mothers.

       254.    Defendants’ nuisance-causing activities also include failing to implement effective

controls and procedures in their supply chains to guard against theft, diversion and misuse of

controlled substances, and their failure to adequately design and operate a system to detect, halt and

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report suspicious orders of controlled substances.

         255.   Defendants’ activities unreasonably interfere with the rights of Plaintiff.

         256.   The Defendants’ interference with the rights of Plaintiff is unreasonable because it:

                a.      Has harmed and will continue to harm the children and public health services

of FLORIDA;

                b.      Is proscribed by statutes and regulation, including the CSA and the consumer

protection statute;

                c.      Is of a continuing nature and it has produced long-lasting effects; and

                d.      Defendants have reason to know their conduct has a significant effect upon

Plaintiff.

         257.   The nuisance undermines public health, quality of life, and safety. It has resulted in

 high rates of addiction, overdoses, dysfunction, and despair within families and entire communities.

         258.   The resources of the community of the Plaintiff is insufficient to deal with needs

 created by the Opioid Crisis, and these limited resources are being unreasonably consumed in efforts

 to address the Crisis, including efforts to address the overwhelming number of children born with

 NAS.

         259.   Defendants’ nuisance-causing activities are not outweighed by the utility of

 Defendants’ behavior. In fact, their behavior is illegal and has no social utility whatsoever. There is

 no legitimately recognized societal interest in failing to identify, halt, and report suspicious opioid

 transactions. There is no legitimate societal interest in Manufacturer Defendants dissemination of

 false “scientific” facts and advice.

         260.   At all times, all Defendants possessed the right and ability to control the nuisance­

 causing outflow of opioids from pharmacy locations or other points of sale. Pharmaceutical

 Defendants flooded the distribution channels and the geographic and demographic area of


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 FLORIDA with opioid pills. Distributor Defendants had the power to shut off the supply of illicit

 opioids to patients and consumers of FLORIDA, yet they did the opposite by flooding the U.S.

 (including FLORIDA) with opioid pills.

        261.    As a direct and proximate result of the nuisance, the community of Plaintiff has born

 a great burden trying to remedy the harms caused by Defendants’ nuisance-causing activity, including,

 but not limited to, costs of hospital services, counseling, healthcare, and child services.

        262.    The deceased RAYMOND GOMEZ JR also has suffered unique harms different

from the public at large, namely, that they personally suffered from addiction, it’s harmful effects, and

they died.

        263.    The effects of the nuisance can be abated, and the further occurrence of such harm

 can be prevented. All Defendants share in the responsibility for doing so.

        264.    Defendants should be required to pay the expenses Plaintiff and their community have

 incurred or will incur in the future to fully abate the nuisance.

                      COUNT II - NEGLIGENCE AND GROSS NEGLIGENCE

        265.    Plaintiff reasserts the allegations of the foregoing paragraphs as if set forth fully herein.

        266.    Defendants owe a non-delegable duty to Plaintiff RAYMOND GOMEZ SR and to

the deceased DEF to conform their behavior to the legal standard of reasonable conduct under the

circumstances, in the light of the apparent risks.

        267.    There is no social value to Defendants’ challenged behavior. In fact, Defendants’ entire

conduct, behavior, actions, misrepresentations, conspiracies, and omissions are against the law.

        268.    On the other hand, there is immense social value to the interests threatened by

Defendants’ behavior, namely the health, safety, and welfare of Plaintiff.

        269.    Defendants’ behavior caused a substantial injury and damage to Plaintiff.

        270.    Defendants’ conduct fell below the reasonable standard of care and was negligent.


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Their negligent acts include:

                a.       Consciously supplying the market in FLORIDA with highly-addictive

                prescription opioids, including misrepresenting, understating, or obfuscating the

                highly addictive propensities of opioid pills;

                b.       Using unsafe marketing, labeling, distribution, and dispensing practices,

                including failing to warn or advise physicians to conduct an addiction family history

                of each and every potential patient;

                c.       Affirmatively enhancing the risk of harm from prescription opioids by failing

                to act as a last line of defense against diversion;

                d.       Failing to properly train or investigate their employees;

                e.       Failing to properly review and analyze prescription orders and data for red

                flags;

                f.       Failing to report suspicious orders or refuse to fill them;

                g.       Failing to provide effective controls and procedures to detect and/or guard

                against theft and diversion of controlled substances;

                h.       Failing to police the integrity of their supply chains; and

                i.       Creating misleading information with the intention of having prescribing

                physicians rely upon it.


        271.    Each Defendant had an ability to control the opioids at a time when it knew or should

have known it was passing control of the opioids to an actor further down in the supply chain that

was incompetent or acting illegally and should not be entrusted with the opioids.

        272.    Each Defendant sold prescription opioids in the supply chain knowing (a) there was a

substantial likelihood many of the sales were for non-medical purposes and, (b) opioids are an

inherently dangerous product when used for non-medical purposes, and (c) that every patient, before

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being prescribed even one opioid pill, needed to have a complete family history of addiction to alcohol

and drugs, with any such history as a contraindication of any opioid use.

        273.    Defendants were negligent or reckless in not acquiring and utilizing special knowledge

and special skills that relate to the dangerous activity in order to prevent or ameliorate such distinctive

and significant dangers.

        274.    Controlled substances are dangerous commodities. Defendants breached their duty to

exercise the degree of care, prudence, watchfulness, and vigilance commensurate to the dangers

involved in the transaction of their business.

        275.    Defendants were also negligent or reckless in failing to guard against foreseeable third-

party misconduct, e.g., the foreseeable conduct of: corrupt prescribers, corrupt pharmacists and staff,

and/or criminals who buy and sell opioids for non-medical purposes.

        276.    Defendants are in a limited class of registrants authorized to legally distribute

controlled substances. This places Defendants in a position of great trust and responsibility vis-a-vis

Plaintiff. Defendants owe a special duty to Plaintiff. That duty cannot be delegated to another party.

        277.    Plaintiff is without fault, and the injuries to Plaintiff would not have happened in the

ordinary course of events if the Defendants used due care commensurate to the dangers involved in

the distribution and dispensing of controlled substances.

        278.    The aforementioned conduct of Defendants proximately caused damage to Plaintiff.

                                COUNT III - CIVIL CONSPIRACY

        279.    Plaintiff reasserts the allegations in the foregoing paragraphs as if fully set out herein.

        280.    The Pharmaceutical Defendants continuously supplied prescription opioids to the

Distributor Defendants despite having actual or constructive knowledge that said Distributors were

habitually breaching their common law duties and violating the CSA. The Distributor Defendants

continuously supplied prescription opioids to pharmacies despite having actual or constructive


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knowledge that said pharmacies were habitually breaching their common law duties and violating the

CSA.

       281.    Without the Distributor Defendants’ supply of prescription opioids, pharmacies

would not be able to fill and dispense the increasing number of prescription opioids throughout

FLORIDA.

       282.    No Defendant in this opioid network would have succeeded in profiting so

significantly from the opioid epidemic without the concerted conduct of the other party, and none

would have succeeded so significantly without engaging in the wrongful conduct as herein alleged.

       283.    The Pharmaceutical Defendants likewise benefitted from this distribution conspiracy

in that the more pervasive opioid diversion became, the more the Pharmaceutical Defendants profited.

Despite access to the same information in the hands of the Distributor Defendants, the

Pharmaceutical Defendants ignored the warning signs of opioid diversion.

       284.    As a result of the concerted actions between and among the Defendants, the Plaintiff

has suffered damages.

       285.    Plaintiff demands judgment against each Defendant for compensatory damages.

                             COUNT IV - PRODUCTS LIABILITY

       286.    Plaintiff reasserts the allegations in the foregoing paragraphs as if fully set out herein.

       287.    At all times material to this action, Defendants were engaged in the business of the

design, development, manufacture, testing, packaging, promotion, marketing, distribution, labeling,

and/or sale of opioid products.

       288.    At all times material to this action, Defendants’ opioid products were expected to

reach, and did reach, consumers in the State of FLORIDA and throughout the United States, including

Plaintiff herein, without substantial change in the condition in which they were sold.

       289.    Defendants knew that the damage causing characteristics of Defendants’ product


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include its addictive properties and its damaging impact on those who use its product.

         290.   Defendants knew that prolonged use of opioids leads to decreased effectiveness,

requiring increases in doses to achieve the same level of pain relief, markedly increasing the risk of

significant side effects and addiction. Defendants conducted studies documenting these risks, yet

failed to publish the results or warn of the documented risks.

         291.   The risks of opioid addiction are grave and Defendants had a duty to warn about these

risks.

         292.   Providing such warnings would have been easily feasible, but would have interfered

with Defendants’ marketing efforts. Instead, Defendants’ engaged in a multimillion dollar marketing

and advertising effort promoting falsehoods and minimizing the risk of addiction and withdrawal from

long term opioid use.

         293.   Defendants knew that opioids are too addictive and too debilitating for long-term use

for chronic pain, barring exceptional circumstances. Defendants knew that the only safe uses for their

product were end of life care, short term pain relief after surgery, and pain relief related to cancer.

Defendants failed to warn FLORIDA physicians, and other individuals of the dangers of using their

product outside of these areas.

         294.   Defendants’ products were unreasonably dangerous at the time they left the control

of Defendants because of inadequate warning.

         295.   Because of Defendants’ knowledge of the risks to those who take their product, and

their extensive efforts to obscure these risks, Defendants are liable for all resulting damages caused to

Plaintiff.

         296.   The opioid product manufactured and/or supplied by Defendants were defective in

design in that an alternative design exists that would prevent addiction and severe and permanent

injury to those who take their product.


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        297.    A reasonably prudent manufacturer or seller would not have put Defendants’ products

on the market had it known of the products’ dangerous condition and/or defective design.

        298.    Defendants designed their product in such a way that it could easily be abused by

crushing of pills with the resulting powder ingested by inhalation or injection.

        299.    Defendants were aware that their products were being abused in this manner on a

large scale, making this a reasonably anticipated use.

        300.    Despite this knowledge, Defendants only recently altered the design of their product

to be “enteric,” that is, changed it to a form that prevented such crushing and consumption. This

change was only made after years of public and legal pressure.

        301.    Further, Defendants promoted their unreasonably dangerous design by actively

undercutting the prescription of alternative nonsteroidal anti-inflammatory drugs, pushing the

misinformation that such non-opioid drugs were not effective for the treatment of long term pain.

        302.    Therefore, Defendants are liable for the damages caused to the Plaintiff by their opioid

products’ unreasonably dangerous and defective design and inadequate warnings of their opioids’

addictive properties.

                                COUNT V - PUNITIVE DAMAGES

        303.    Plaintiff reasserts each and every allegation set forth in all preceding paragraphs as if

fully restated herein.

        304.    The conduct of Defendants as set forth herein was malicious, oppressive, willful,

wanton, reckless, and/or criminally indifferent to civil obligations affecting the rights of others,

including Plaintiff. Plaintiff is thus entitled to recover punitive damages against Defendants.

        305.    Defendants were malicious, oppressive, willful, wanton, reckless, and/or criminally

indifferent to civil obligations affecting the rights of others, including Plaintiff, in their activities and

in failing to warn Plaintiff of dangers well known to Defendants, which acts exhibited a deliberate


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disregard for the rights and safety of Plaintiff.

        306.    Defendants realized the imminence of danger to Plaintiff and other members of the

public, but continued with deliberate disregard and complete indifference and lack of concern for the

probable consequences of their acts.

        307.    As a direct result of Defendants’ deliberate disregard for the rights and safety of others,

gross negligence, malicious, oppressive, willful, wanton, reckless, and/or criminal indifference to civil

obligations affecting the rights of others, including Plaintiff, Plaintiff suffered the injuries and dangers

stated above.

        308.    Defendants’ acts as described herein exhibited deliberate disregard for the rights and

safety of others and were malicious, oppressive, willful, wanton, reckless, and/or criminally indifferent

to civil obligations affecting the rights of others, including Plaintiff. An award of punitive and

exemplary damages is therefore necessary to punish Defendants, and each of them, and to deter any

reoccurrence of this intolerable conduct. Consequently, Plaintiff is entitled to an award of punitive

damages.

        309.    The conduct of Defendants as set forth herein was malicious, oppressive, willful,

wanton, reckless, and/or criminally indifferent to civil obligations affecting the rights of others,

including Plaintiff. Plaintiff is thus entitled to recover punitive damages against Defendants in an

amount sufficient to punish Defendants for their wrongful conduct and to deter Defendants and

others from similar wrongful conduct in the future.

                                 COUNT VI – UNJUST ENRICHMENT

        310.    Plaintiff repeats, reiterates, and realleges each and every allegation contained in the

paragraphs above as if fully set forth herein.

        311.    To the detriment of Plaintiff, all Defendants have been, and continue to be, unjustly

enriched as a result of the unlawful and/or wrongful conduct alleged herein.


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        312.    All Defendants have voluntarily accepted and retained the inflated prices paid for their

opioid products with full knowledge that they were not lawfully entitled to it.

        313.    Plaintiff bears the costs of the benefits conveyed to all Defendants in the form of

increased insurance premiums.

        314.    Between Defendants and Plaintiff, it would be unjust for Defendants to retain the

benefits attained by their wrongful actions.

        315.    All Defendants have been unjustly enriched, in the form of inflated prices, at the

expense of Plaintiff who is entitled in equity to disgorgement and restitution of Defendants’ wrongful

profits, revenue, and benefits, to the extent, and in the amount deemed appropriate by the Court, and

any other relief the Court deems just and proper to remedy Defendants’ unjust enrichment.



                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff RAYMOND GOMEZ SR requests that the Court grant the

following relief:

        a.      Injunctive Relief, including enjoining the Defendants and all other persons acting in

                concert or participation with them from engaging in unfair or deceptive practices in

                violation of law as described herein, and by temporary, preliminary or permanent

                injunction force the Defendants and all other persons acting in concert or participation

                with them to abide by the Controlled Substances Act, provide the required control

                measures, and prevent unauthorized users from obtaining opioids;

        b.      Compensatory damages;

        c.      Restitution;

        d.      Punitive damages;

        e.      Attorneys’ fees and costs;


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       f.    Pre and Post Judgment Interest;

       g.    All such other relief this Court deems just and fair; and

       h.    Plaintiff seeks a trial by jury for all counts so triable.



                                                        Respectfully submitted by:


                                                            /s/ Stephen P. New ___________
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